Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 1 of 48 PageID #:4445




                         Exhibit 1
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 2 of 48 PageID #:4446




                           SETTLEMENT AND RELEASE AGREEMENT

        This Settlement and Release Agreement ("Agreement" or "Settlement Agreement") is
entered into by and between BNSF Railway Company ("Defendant" or "BNSF") and Richard
Rogers and Michael Stewa1t ("Plaintiffs"), individually a nd on be half of the Settlement C lass, as
defined below, in Rogers et al. v. BNSF Railway Co., No. 2019-CH-04393, currently pending in
the C ircuit Court of Cook County, fllinois, Chancery Division before the Honorable Pamela
McLean Meyerson (the "State Case"), and pending in the United States District Court for the
Northern District of Illinois before the Honorable Matthew F. Kennelly, as Rogers v. BNSF
Railway Co. , No. 19-CV-03083 (the "Federal Case"). The State Case and the Federal Case are
collectively referred to herein as the "L itigation." Defendant and Plaintiffs are each individually
referred to as a " Party" and are collectively referred to herein as the "Parties."

I.       PROCEDURAL BACKGROUND AND RECITALS

          I.        On April 4, 2019, Plaintiff Richard Rogers filed a class action lawsuit against
                    Defendant alleging violations of Sections I 5(a), (b), and (d) of the [Hino is
                    Biometri c Information Privacy Act, 740 ILCS § 14/ 1, et seq. ("BIPA"), in the
                    Circuit Court of Cook County, Illinois, where it was assigned to the Honorable
                    Pamela McLean Meyerson.

Proceedings mu/ Discove,y ill Federal Court

         2.         On May 7, 2019, Defendant timely removed the Litigation to the United States
                    District Court for the No1thern District of Illinois, pursuant to 28 U.S.C. §§ 1332,
                    1441 , and 1446. (Dkt. 1). The case was assigned to the Honorable Matthew F.
                    Kennelly and captioned Rogers v. BNSF Railway Co., No. I 9-cv-03083.

         3.         On June 13, 2019, Defendant filed a Motion to Dismiss Plaintiff Rogers's
                    Complaint. (Dkts. 12-13). On July 12, 2019, Plaintiff Rogers filed his F irst
                    Amended Complaint. (Dkt. 18).

         4.         On July 26, 20 19, Defendant moved to dismiss Plaintiff Rogers' s First Amended
                    Complaint. (Dkts. 19-20).

         5.         Following full briefing on Defendant's Motion to Dismiss Plaintiff Rogers's F irst
                    Amended Complaint (Dkts. 19-20, 26, 28), on October 31, 2019, Judge Kennelly
                    issued a Memorandum Opinion and Order denying Defendant' s Motion to Dismiss.
                    (Dkt. 3 1).

         6.         Judge Kennelly directed Defendant to file an Answer in response to Plaintiff
                    Rogers 's First Amended Complaint. (Dkt. 32). On December 5, 201 9, Defendant
                    filed its Answer. (Dkt. 39).

         7.         On March 11, 2020, the Parties met for a mediation before Judge James Holderman
                    (Ret.) of JAMS Chicago. The Parties were unable to reach a mutually acceptab le
                    resolution.

NAl-1538714088v21
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 3 of 48 PageID #:4447




         8.         On November 20, 2020, Defendant moved to stay the Litigation pending the
                    appeals in Cothron v. White Castle Sys., Inc., Case No. 20-3202, and Tims v. Black
                    Horse Carriers, Inc., Case No. 1-28-0563. (Dkt. 70). Judge Kennelly denied
                    Defendant's Motion to Stay. (Dkt. 71).

         9.         On February 24, 2021, the Parties j ointly moved to stay the Litigation pending
                    mediation. (Dkt. 78). Judge Kennelly granted the Parties' Motion to Stay in part.
                    (Dkt. 79).

         10.        On April 7, 2021, the Patties paiticipated in a second private mediation, this time
                    overseen by the Honorable James Epstein (Ret.) of JAMS Chicago. Over the course
                    of the arm's-length mediation, the Parties were again unable to come to terms to
                    resolve the Litigation.

         11.        On August 11 , 202 1, Plaintiff Rogers moved to remand BIPA claims made under
                    Section 15(a) ofBIPA to Cook County, Jllinois on the basis that the District Court
                    lacked subject matter jurisdiction pursuant to the Seventh Circuit's decision in
                    Bryant v. Compass Group USA, Inc., 958 F.3d 617 (7th Cir. 2020). (Dkt. 85). Judge
                    Kennelly granted Plaintiffs Moti on to Remand his Section l 5(a) claims on August
                    25, 2021. (Dkt. 97).

         12.        Plaintiff Rogers thereafter sought and obtained leave to file a Second Amended
                    Complaint in federal cou1t which alleged only violations of Section l 5(b) of BIPA.
                    (Dkts. 98-100, 102-103).

         13.        On August 17, 2021, Plaintiff Rogers filed a Motion for Class Certification. (Dkt.
                    90).

         14.        On September 16, 202 1, Defendant filed a Motion for Summary Judgment. (Dkts.
                    l 06-108).

         15.        On September 24, 2021, Defendant filed its Answer to Plaintiff Rogers' Second
                    Amended Complaint. (Dkt. J 11 ).

         16.        On October 8, 202 1, Defendant filed its Response in Opposition to Plaintiff Rogers'
                    Motion for Class Certification. (Dkt. 116).

         17.        On October 19, 202 l , Defendant filed a Renewed Motion to Stay the Federal Case
                    pending Cothron v. White Castle Sys., Inc., Case No. 20-3202. (Dl<t. 121 ).

         18.        Defendant's Renewed Motion to Stay was fully briefed. (Dkts. l 3 1-1 32). On
                    December 7, 202 1, Judge Kennelly stayed the Federal Case for sixty days. (Diet.
                    134).




NAl-1538714088v21                                    2
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 4 of 48 PageID #:4448




         19.        On February 2, 2022, Judge Kennelly lifted the stay and directed Defendant to file
                    a Reply in S upport of its Motion for Summary Judgment, whjch Defendant did o n
                    February 23, 2022. (Dkts. 135, 139-140).

         20.        On March 15, 2022, Judge Kennelly issued a Memorandum Opinion and Order
                    denying Defendant's Motion for Summary Judgment. (Dkt. 142).

         21.        On March 22, 2022, Judge Kennelly issued a Memorandum Opinion and Order
                    granting PlaintiffRogers's Motion for Class Certification. (Dk.t. 143).

         22.        On April 1, 2022, Judge Kennelly set the Federal Case for a jury trial. (Dkt. 144).

         23.        On April 5, 2022, Defendant filed a Petition for Permi ssion to Appeal Judge
                    Kennelly's Order granting class certification under Fed. R. Civ. P. 23(t). On April
                    11 , 2022, Defendant's petition was denied by a panel of the Seventh Circuit Court
                    of Appeals. (Dkt. 145).

         24.        On April 26, 2022, Defendant filed a combjned Motion for Certification of
                    Interlocutory Appeal U nder 28 U.S.C. Section 1292(6) and a Motion to Stay. (Dkt.
                    147).

         25.        On June 6, 2022, the Parties participated in a third arm's-length mediation, aga in
                    overseen by the Honorable James Epstein (Ret.) of JAMS Chicago. The Parties
                    were again unable to come to terms to resolve the Litigation.

         26.        On June 10, 2022, Plaintiff Rogers filed an Unopposed Motion fo r Approval of
                    C lass Notice Plan. (Dkt. 155). Judge Kennelly granted Plaintiff Rogers' Motion
                    and Class Counsel implemented the approved notice plan, thereby noti fyi ng the
                    certified class me mbers in the Federal Case of the then-forthcom ing trial. (Dkt.
                    156).

         27.        On June 2 1, 2022, Judge Kennelly denied Defendant's Motion for Certificatio n of
                    Interlocutory Appeal Under 28 U.S.C. Section 1292(6). (Dkt. 158).

         28.        On August 25, 2022, the Parties fil ed their pretrial motions, including Omnibus
                    Motions ;n Limine from both Parties and Defendant filing a Motion to Strike
                    Undisclosed Witnesses, a Motion to Strike Plaintiffs Expert from Offering
                    Undisclosed Expert Opinions at Trial, and a Motion to Stay Proceedings. (Dkts.
                    173- 176, 178). The Parties also filed their Final Pretrial Order on Septembe r 30,
                    2022. (Dkt. 177).

         29.        On September I, 2022, the Parties responded to each of the forego ing pretrial
                    motions. (Dkts. 180-81 , 183, 185). Defendant' s Motion In Limine No. 1 required
                    additional briefing and oral argument prior to being denied by Judge Kennelly in a
                    Memorandum Opinion and Order. (Dkts. 194-195, 197-199, 201).




NAl-1538714088v21                                    3
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 5 of 48 PageID #:4449




         30.        On September 6, 2022, Judge Kennelly held a final pretrial conference in which he
                    heard oral argument on the Parties' pretrial motions and made rulings thereon.

         31.        On September 7, 2022, Judge Kenneily denied Defendant's Motion to Stay. (Dkt.
                    191).

         32.        On September 30, 2022, Judge Kennelly held a pretrial settlement conference. The
                    Parties did not reach agreement to resolve the Litigation. (Dkt. 203).

         33.        On October 4, 6, 7, 11 and 12, 2022 the Parties conducted a jury trial presided over
                    by Judge Kennelly.

         34.        Defendant filed a Motion for Judgment as a Matter of Law and a Motion to Preclude
                    Argument on the "Total Number" of Finger Scans and an Offer of Proof. (Dkts.
                    212, 215). Judge Kennelly denied Defendant's Motion for Judgment as a Matter of
                    Law and rejected its Offer of Proof. Judge Kennelly granted Defendant' s Motion
                    to Preclude Argument on the "Total Number" of Finger Scans.

         35.        On October 12, 2022, the jury returned a verdict, finding that Defendant had
                    recklessly violated Section 15(b) ofBIPA 45,600 times. (Did. 223). Judge Kennelly
                    directed the Clerk to enter judgment in favor of the plaintiff class in the amount of
                    $228,000,000. (Dkts. 223-225).

         36.        On November 9, 2022, the Patties filed their post-trial motions. (Dkts. 235-236).
                    Defendant filed a Renewed Motion for Judgment as a Matter of Law and Motion
                    for a New Trial or to Alter or Amend Judgment. (Dkt. 235). Plaintiff Rogers filed
                    a Rule 59 Motion to Amend Judgment. (Dkt. 236).

         3 7.       On November 29 and December 23, 2022, Judge Kennelly held post-trial settlement
                    conferences. The Patties did not reach agreement to resolve the Litigation.

         38.        On January 27, 2023, the Patties filed their respective responses to each other's
                    post-trial motions. (Dkts. 245, 247). The Patties filed their replies thereto on
                    February 10, 2023. (Dkts. 250,252).

         39.        Following the Illinois Supreme Cou1t's resolution of the appeals in Tims v. Black
                    Horse Carriers, Inc., Case No. 1-28-0563 and Cothron v. White Castle Sys., Inc.,
                    Case No. 20-3202, the Parties filed notices of supplemental authority regarding
                    their post-trial motions. (Dkts. 249, 255).

         40.        On June 2, 2023, Judge Kennelly heard oral argument on the Patties ' post-trial
                    motions. On June 30, 2023, Judge Kennelly granted Defendant' s post-trial Motion
                    in part, vacating the damages award and ordering a new trial as to damages. (Dkt.
                    260). Judge Kennelly also denied Plaintiff Rogers' post-trial Motion. (Id.) On July
                    7, 2023, the Court set the damages retrial to begin on October 2, 2023.




NAl-1538714088v21                                    4
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 6 of 48 PageID #:4450




         41.        On September 8, 2023, Judge Kennelly held a fourth court-mediated settlement
                    conference in this matter. The settlement conference was productive and resulted
                    in a mediator's proposal from Judge Kennelly. However, the Parties did not reach
                    agreement to resolve the Litigation at the settlement conference. (Dkt. 271).

         42.        On September 11 , 2023, the Parties filed their motions in Limine with respect to the
                    damages retrial. (Dkts. 272-273).

         43.        On September 15, 2023, after several additional days of arm's-length negotiations,
                    the Parties reached a settlement in principle based upon Judge Kennelly's
                    mediator's proposal and executed a Settlement Term Sheet memorializ ing the terms
                    of the settlement in principle. (0kt. 274).

Parallel Proceedings in State Court

         44.        Following the August 25, 2021 remand of Plaintiff Rogers's claim under Section
                    15(a) of BJPA, Plaintiff Rogers was granted leave to file the operative Second
                    Amended Complaint in the State Case. Plaintiff did so on November 2, 2021,
                    add ing Michael Stewart as a class representative. Defendant filed its Answer on
                    December 6, 2021 .

         45 .       On May 20, 2022, the Court entered an Agreed Protective Order which operated to
                    consider all materials produced in the Federal Case to have been produced in the
                    State Case as well. The Parties then began conducting additional discovery tailored
                    to Plaintiffs' claims under BJPA Section l5(a).

         46.        On March 28, 2023, Plaintiffs filed a Motion for Class Certification. In response,
                    Defendant fi led a Motion to Clarify and/or Reconsider Order Regarding Expert
                    Discovery. Defendant's Motion was ultimately denied.

         47.        Plaintiffs ' Motion for Class Certification was fully briefed, but not ruled upon.

         48.        On May 11 , 2023, Defendant filed a Motion for Judgment on the Pleadings, seek ing
                    dismissal of the State Case with prejudice. That Motion was fully briefed but not
                    ruled upon.

         49.        On September 1, 2023, Plaintiffs sought leave to file certain exhibits to their then-
                    contemplated Motion for Summary Judgment under seal. The Court granted this
                    relief. Prior to filing such motion, the instant Settlement was reached.

Recitals Related to Settleme11t

         50.        This settlement represents the Patties ' agreement to resolve all matters pertaining
                    to, arising from, or associated with the Litigation, including all claims Plaintiffs and
                    Settlement C lass Members have or may have had against Defendant.




NAl-1538714088v21                                      5
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 7 of 48 PageID #:4451




         51.        The Parties have agreed to a settlement according to the terms and conditions set
                    forth herein in recognition that the outcome of the Litigation is uncertain and that
                    achieving a final result through litigation would require discovery, time and
                    expense, including at least one more trial.

         52.        Despite Defendant's belief that it is not liable for, and has good defenses to, the
                    claims alleged in the Litigation, Defendant desires to settle the Litigation, and thus
                    avoid the expense, risk, exposure, inconvenience, and distraction of continued
                    litigation of any action or proceeding relating to the matters being fully settled in
                    this Settlement Agreement. Neither this Settlement Agreement, nor any negotiation
                    or act performed or document created in relation to the Settlement Agreement or
                    negotiation or discussion thereof is, or may be deemed to be, or may be used as, an
                    admission of, or evidence of, any wrongdoing or liability. Notwithstanding the
                    forgoing, Defendant has represented that it no longer uses the alleged Automatic
                    Gate System biometric technology at issue in the Litigation at its Illinois facilities.

         53.        Plaintiffs and Class Counsel have conducted a thorough investigation into the facts
                    and the law regarding the Litigation and have concluded that a settlement according
                    to the terms set forth below is fair, reasonable, and adequate, and beneficial to and
                    in the best interests of Plaintiffs and the Settlement Class recognizing: (1) the
                    existence of complex and contested issues of law and fact; (2) the risks inherent in
                    litigation, particularly where the Litigation includes the first jury trial under BIPA
                    and numerous likely appeals of any outcome; (3) the likelihood that future
                    proceedings will be protracted and expensive if the proceeding is not settled by
                    voluntary agreement; ( 4) the magnitude of the benefits derived from the
                    contemplated settlement in Iight of both the maximum potential and likely range of
                    recovery to be obtained through further litigation and the expense thereof, as well
                    as the potential of no recovery whatsoever; and (5) Plaintiffs' determination that
                    the settlement is fair, reasonable, adequate, and will substantially benefit the
                    Settlement Class Members.

         54.        Considering the risks and unce1tai11ties of continued litigation and all factors
                    bearing on the merits of settlement, the Parties are satisfied that the terms and
                    conditions of this Settlement Agreement are fair, reasonable, adequate, and in their
                    respective best interests.

         55.        In consideration of the covenants, agreements, and releases set forth herein, and for
                    other good and valuable consideration, the receipt and sufficiency of which are
                    hereby acknowledged, it is agreed by and among the undersigned that the Releasing
                    Parties forever settle and release the Released Claims on the following terms and
                    conditions.

II.      DEFINITIONS

         As used in this Agreement, the following terms have the meanings specified below:




NAl-1538714088v21
                                                      6
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 8 of 48 PageID #:4452




         56.        "Administrative Expenses" means expenses associated with the Settlement
                    Administrator (as defined below), including but not limited to, costs in connection
                    with Class Notice (as defined below), communicating with Settlement Class
                    Members, disbursing payments to the Settlement Class Members, and tax reporting.

         57.        "Automatic Gate System" shall mean the technology used at any of BNSF' s four
                    Illinois facilities which utilized a scan of Plaintiffs ' and the Settlement Class
                    Members' fingers, or other alleged biometric identifiers or biometric information,
                    to verify their identify at Defendant's facilities in Illinois.

         58.        "Class," "Settlement Class," "Class Member" or " Settlement Class Member" shall
                    mean all individuals whose fingerprint information was registered using an Auto-
                    Gate System at any of BNSF' s four Illinois facilities at any time from April 4, 2014
                    through the date of the Preliminary Approval Order. Defendant agrees to this
                    Settlement Class and certification of this settlement for settlement purposes only.
                    The Settlement Class is comprised of approximately 46,500 individuals.

         59.        "Class Counsel" shall mean Myles McGuire, Evan M. Meyers, David L. Gerbie,
                    and Brendan Duffner of McGuire Law, P.C., and Jonathon I. Loevy and Michael I.
                    Kanovitz of Loevy & Loevy.

         60.        "Counsel" or "Counsel for the Parties" shall mean both Class Counsel and
                    Defendant's Counsel, collectively.

         61.        "State Court" shall mean the Circuit Comt of Cook County Illinois, and the
                    Honorable Pamela McLean Meyerson, or any subsequent judge assigned to preside
                    and have jurisdiction over the State Case.

         62 .       "Defendant" shall mean BNSF Railway Company.

         63.        "Defendant's Counsel" shall mean Efrat R. Schulman, Michael J. Gray, and
                    Bethany K. Biesenthal of Jones Day.

         64.        "Effective Date" means the first date on which the Final Approval Order and the
                    Federal Court' s order finally approving the Settlement and dismissing the Federal
                    Case with prejudice are no longer appealable, or if an appeal is filed, the date on
                    which such appeal is final. Where the Final Approval Order and the Federal Court's
                    order of dismissal grant full relief sought by the Parties, as set forth in the
                    Settlement Agreement and in the absence of any objection from a Class Member,
                    the Effective Date shall be the later of the date of Final Approval or the date of the
                    Federal Court' s order of dismissal.

         65.        " Fee and Expense Application" shall mean the motion to be filed by Class Counsel,
                    in which they will seek approval of an award of attorneys' fees, costs, and expenses,
                    as well as Service Awards for the Class Representatives.


NAl-1538714088v21                                     7
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 9 of 48 PageID #:4453




         66.        "Fee Award" shall mean the amount of attorneys' fees, costs, and expenses awarded
                    by the State Colllt to Class Counsel.

         67.        "Federal Court" shall mean the United States District Cowt for the No1thern
                    District of Illinois, and the Honorable Matthew F. Kennelly, or any subsequent
                    judge assigned to preside and have jurisdiction over the Federal Case.

         68.        "Final Approval" means the date by which the State Cou1t enters an order granting
                    final certification pursuant to 735 JLCS 5/2 801 , for settlement purposes, of the
                    Settlement Class, final approval of the settlement, and final judgment in the action
                    ("Final Approval Order").

         69.        "Final Approval Hearing" means the hearing at which the State Court will grant
                    final approval of the Settlement Agreement and make such other final rulings as
                    are contemplated by the Settlement Agreement.

         70.        "First Distribution" means each Settlement Class Members' first payment of their
                    pro rata share of the Settlement Fund after deductions for any Fee Award, Service
                    Awards, Administrative Expenses, as well as any additional amounts withheld by
                    the Settlement Administrator pursuant to IRS guidelines.

         71.        "Second Distribution" means, for each Settlement Class Member, their pro rata
                    share of all remaining amounts in the Settlement Fund after the First Distribution
                    as well as any additional amounts withheld by the Settlement Administrator
                    pursuant to IRS guidelines.

         72.        "Litigation" shall mean the cases captioned Rogers et al. v. BNSF Railway
                    Company, No. 2019-CH-04393, currently pending in the Circuit Court of Cook
                    County, Illinois, Chancery Division before the Honorable Pamela McLean
                    Meyerson, or any judge presiding in her stead, and pending in U.S. District Cou1t
                    for the Northern District oflllinois before the Honorable Matthew F. Kennelly, No.
                    l 9-CV-03083, or any judge presiding in his stead and having jurisdiction over that
                    case.

         73.        "Class Notice" means the notice of this Settlement, substantially in the form of
                    Exhibit A hereto, which shall inform the Class Members of their rights and
                    obligations under the Settlement, the existence of the Settlement Website, and the
                    manner in which they must provide any required tax information in order to receive
                    the full amount of their pro rata share of the Settlement Fund without having
                    amounts withheld by the Settlement Administrator pursuant to IRS guidelines.

         74.        "Net Settlement Amount" means the amount available from the Settlement Fund
                    for the Qualified Class Members and shall be equal to the Settlement Fund minus
                    the amounts paid to: (i) the Class Representatives as Service Awards (no more than
                    $15,000 per Service Award) (ii) Class Counsel for attorneys' fees (Class Counsel's


NAl-1538714088v21                                    8
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 10 of 48 PageID #:4454




                    request for attorneys' fees not to exceed more than thirty-five percent (3 5%) of the
                    Settlement Fund, plus costs and expenses), and (iii) Administrative Expenses.

         75.        "Net Settlement Award" means the pro rata award to be distributed to each
                    Qualified Class Member.

         76.        "Notice Date" means the date by which the Class Notice is disseminated to the
                    Settlement Class via first-class U.S. Mail, which shall be a date no later than
                    twenty-one (21) days after entJy of Preliminary Approval.

         77.        "Objection/Exclusion Dead line" means the date by which a written objection to this
                    Settlement Agreement or a request for exclusion submitted by a person within the
                    Settlement Class must be postmarked or otherwise received by the Settlement
                    Administrator, which shall be designated as a date approximately forty-two (42)
                    days after the Notice Date, or such other date as ordered by the State Court.

         78.        "Parties" shall mean Plaintiffs and Defendant, collectively.

         79.        "Plaintiffs" or "Class Representatives" shall mean the named class representatives,
                    Richard Rogers and Michael Stewa1t.

         80.        "Preliminary Approval" shall mean the date of entry of the Preliminary Approval
                    Order.

         81.        "Preliminary Approval Order" means the State Cou11' s order preliminarily
                    approving the Settlement Agreement, ce11ifying the Settlement Class for settlement
                    purposes, and approving the form and manner of the Class Notice.

         82.        "Qualified Class Member" means any Settlement Class Member who does not opt
                    out of the Settlement in accordance with Section IX below.

         83.        " Released Claims" means the release described in Section VI of this Agreement.

         84.        "Released Party" or "Released Patties" means j ointly and severally, and
                    individually and collectively, BNSF Railway Company, and any of its owners,
                    investors, predecessors, successors, joint ventmers, partners, limited partners,
                    ass igns, agents, directors, officers, employees, managers, members,
                    representatives, attorneys, parent companies, divisions, indirect or direct
                    subsidiaries, affiliates, benefit plans, plan fiduciaries, and/or administrators,
                    insurers and reinsurers and all persons acting by, through, under or in concert with
                    any of them, including any pa1ty that could have been named as a Defendant in the
                    L it igation.

         85.        " Releasing Parties" means only Plaintiffs and each Settlement Class Member who
                    does not timely opt out of this Settlement Agreement, and their predecessors,
                    successors, heirs, executors, administrators, and assigns of each of the foregoing,


NAl-1538714088v21                                    9
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 11 of 48 PageID #:4455




                     and anyone claiming by, through, or on behalf of them. The list of Settlement Class
                     Members shall be provided by the Patties to the Settlement Administrator in
                     accordance with Paragraph 96 and shall comprise the complete list of Releasing
                     Patties, which can only be modified by the agreement of the Parties.

          86.        "Service Award(s)" shall mean awards paid from the Settlement Fund to Plaintiffs
                     Richard Rogers and Michael Stewa1t in acknowledgement of their participation,
                     cooperation, and agreement to pursue this litigation on behalf of the Settlement
                     Class Members and shall have the qualities further set forth in Section XV of this
                     Agreement.

          87.        "Settlement Administrator" shall mean, subject to State Coutt approval, Epiq Class
                     Actions & Claims Solutions, the entity mutually selected and supervised by the
                     Patties to admjnister the settlement.

          88.        "Settlement Fund", "Qualified Settlement Fund", or "QSF" means the amount paid
                     by Defendant in the amount of $75,000,000.00 (seventy-five million dollars).

          89.        "Settlement Website" shall mean a website established and administered by the
                     Settlement Administrator, which shall contain information about the Settlement,
                     including electronic copies of Exhibit A (or any form of the notice that is approved
                     by the State Court), this Settlement Agreement, and all Colllt documents related to
                     the Settlement. A phone number for the Settlement Administrator shall be provided.
                     The URL of the Settlement Website shall be www.BNSFBIPAClassAction.com.

 ill.     SETTLEMENT TERMS

          90.        No Admission

                     a. Nothing contained herein, nor the consummation of this Settlement Agreement,
                        is to be construed as or deemed an admission of liability, culpability, negligence
                        or wrongdoing on the patt of any Party or that class action treatment of any
                        claims is appropriate other than for settlement purposes. All Parties have
                        entered into this Settlement Agreement with the intention to avoid further
                        disputes and litigation based on disputed facts and allegations, and to avoid the
                        costs and risks of further litigation to all Patties. This Settlement Agreement,
                        and any communications, papers, or orders related to the Settlement
                        Agreement, are settlement documents and shall be inadmissible in evidence in
                        any proceeding. The preceding sentence shall not apply to an action or
                        proceeding to approve, interpret, or enforce this Settlement Agreement.

          91.        Certification for Settlement Only

                     a. Plaintiffs will seek, and Defendant will not oppose for purposes of settlement,
                        certification of the Settlement Class defined in Paragraph 58 under 735 ILCS
                        5/2 801, and an ordel' that Plaintiffs shall represent the Settlement Class for


 NAl-1538714088v21
                                                      10
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 12 of 48 PageID #:4456




                        settlement purposes and shall be the C lass Representatives, and McGuire Law,
                        P.C., and Loevy & Loevy shall be appointed as Class Counsel.

                    b. Defendant does not consent to certification of the Settlement C lass for any
                       purpose other than to effectuate the settlement. If the State Cou1t does not enter
                       Fina l Approval, or if for any other reason final approval of the settlement does
                       not occur, is successfully objected to, or challenged on appeal , any ce1titication
                       of any Settlement C lass w ill be vacated, and the Paities wi ll be returned to their
                       positions with respect to the Litigation as if the Agreement had not been entered
                       into. In suc h an event, while the Settlement Class certification would be
                       vacated, the class in the Federal Case will remain certified under Fed. R. C iv.
                       P. 23 .

                    c. In the event that Final Approval of the Settlement is not achieved: (a) any State
                       Court and Federal Court orders preliminarily or finally approving the
                       ce1tification of the Settlement Class contemplated by this Agreement shall be
                       null, vo id, and vacated, and shall not be used or cited thereafter by any person
                       or entity; and (b) the fact of the settlement reflected in this Agreement, that
                       Defendant did not oppose the certification of a Settlement C lass under this
                       Agreement, or that the State Cou1t and/or Federal Cowt preliminarily approved
                       the certification of a Settlement C lass, shall not be used or cited thereafter by
                       any person or entity, including in any manner whatsoever, including without
                       limitation any contested proceeding relating to the certification of any class.

IV.      SETTLEMENT FUND

         92.        Settlement Administration

                    a. The duties of the Settlement Administrator shall be limited to those described
                       in this Agreement, and the Settlement Administrator shall have no discretion
                       beyond that granted by this Agreement. The Settlement Administrator shall be
                       required to agree in writing to treat information it receives o r generates as part
                       of the settlement administration process as confidential and to use such
                       information solely for purposes of settlement administration.

                    b. T he Settlement Administrator will be responsible for maintaining the
                       Settlement Website, which shall contain informat ion about the settlement. T he
                       Settlement Website w ill contain a page where ind ividuals who may be
                       Settlement C lass Members, and for whom the Parties do not have current
                       addresses, w ill be able to provide information to verify their eligibi lity to
                       paiticipate in the settlement. Such individuals will be required to provide their
                       name, address, Commercial Driver's License ("COL") Number, CDL state, and
                       other identifying informatio n requested by the Settlement Administrator. Such
                       individuals may be included in the Settlement if the Settleme nt Administrator
                       verifies their eligibility. The Settlement Admin istrator sha ll a lso ensure the




NAl-1538714088v21
                                                      11
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 13 of 48 PageID #:4457




                         Settlement Website will contain a page where Settlement Class Members can
                         provide any required tax information.

          93.         Settlement Fund

                     a. Defendant agrees to pay the Settlement Fund in the amount of seventy-five
                        million dollars ($75,000,000.00) which shall fully resolve and satisfy any claims
                        for attorneys' fees approved by the State Court, any and all amounts to be paid
                        to Settlement Class Members, any State Cowt-approved Service Awards, and
                        any Administrative Expenses. Defendant will not be required to pay more than
                        the gross total of seventy-five million dollars ($75,000,000.00) under the terms
                        of th is Settlement Agreement.

                     b. No later than ten ( I 0) days after entry of the Preli m ina1y Approval Order,
                        Defendant shall deposit five hundred thousand ($500,000) of the Settlement
                        Fund into an interest-bearing escrow account to be opened, administered, and
                        controlled by the Settlement Administrator. The account shall be opened and
                        administered by the Settlement Administrator as a Qualified Settlement Fund
                        ("QSF") under Section 468B of the Internal Revenue Code of 1986, as amended,
                        and Treas. Reg. Section 1.4688-1 et. seq. While held in the QSF, the funds in
                        the QSF shall accrue interest at the then-current rate of the interest-bearing
                        insured checking account. The Settlement Fund includes all interest that shall
                        accrue on the sums deposited in the QSF. The Settlement Administrator shall be
                        the "administrator" of the QSF within the meaning of Treas. Reg. Section
                        l .468B-2(k)(3). Defendant shall be the "transferor" with respect to the QSF
                        within the meaning of Treas. Reg. Section l .468B-l (d)(l ). The Settlement
                        Administrator shall provide to Defendant a properly completed and duly
                        executed IRS Form W-9 of the QSF prior to the deposit of the Gross Settlement
                        Amount to the QSF. The Settlement Administrator shall cooperate as requested
                        by Defendant in the making of any election with respect to the QSF, including a
                        "relation-back election" pursuant to Treas. Reg. Section 1.468B-l G). No later
                        than three (3) calendar days after Final Approval, Defendant shall deposit the
                        remaining seventy-four million five hundred thousand dollars ($74,500,000) of
                        the Settlement Fund into the QSF.

                     c. With respect to the QSF, the Settlement Administrator shall satisfy out of the
                        QSF all (i) taxes (including any estimated taxes, interest or penalties) with
                        respect to the interest or other income earned by the QSF, and (ii) fees, expenses
                        and costs incurred in connection with the opening and administration of the QSF
                        and the performance of the Settlement Administrator's duties and functions as
                        described in this Settlement Agreement, which such fees, costs and expenses
                        shall be treated as and included in the costs of administering the QSF. The Patties
                        will require the Settlement Administrator to indemnify and hold harmless the
                        Parties for and against any claim or liabilities resulting from errors or omiss ions
                        in its administration of the QSF.




 NAl-1538714088v21                                      12
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 14 of 48 PageID #:4458




                    d. Tf the State Court does not grant Final Approval of the Settlement Agreement,
                       all amounts paid into the QSF belong to Defendant, less any Administrative
                       Expenses paid to date, which shall be split between the Parties equally.

                    e. The Settlement Fund represents the total extent of Defendant's monetary
                       obligations under the Settlement Agreement. Defendant's contributions to the
                       Settlement Fund shall be fixed under this Agreement and final. Defendant shall
                       have no ob ligation to make further payments to the Settlement Fund and shall
                       have no financial responsibility or obligation relating to the settlement beyond
                       the Settlement Fund.

                    f.   The State Cowt may require changes to the method of allocation to Settlement
                         Class Members without invalidating this Settlement Agreement, provided that
                         the other material terms of the Settlement Agreement are not altered, including
                         but not limited to the scope of the Release, the scope of the Settlement Class,
                         and the amount of the Settlement Fund.

         94.         Disbursement of the QSF. The Settlement Administrator shall disburse the
                     amounts in the QSF as follows, subject to State Court approval, and consistent with
                     all other terms and pre1:equisites of this Agreement: The amount available from the
                     Settlement Fund for the C lass Representatives' and Settlement C lass Members'
                     settlement awards ("Net Settlement Amount") shall be the Settlement Fund minus
                     the amounts paid to: (i) the Class Representatives as Service Awards (no more than
                     $15,000 per Service Award) (ii) Class Counsel for attorneys' fees (Class Counsel's
                     request for attorneys' fees not to exceed more than thirty-five percent (35%) of the
                     Settlement Fund, plus costs and expenses), and (iii) Administrative Expenses.

         95.         Calculation of Settlement Awards

                     a. A Settlement Class Member who does not opt out ("Qualified Class Member")
                        will be deemed eligible for a payment hereunder. Regardless of whether he or
                        she signs, deposits, endorses or cashes any settlement check, any C lass Member
                        who does not opt out pursuant to the terms herein is subject to the release set
                        forth herein.

                     b. The Net Settlement Amount will be divided among Qualified Class Members
                        on a pro rata basis ("Net Settlement Award"). The First Distribution settlement
                        checks issued by the Settlement Administrator will state on their face that they
                        are va lid for one hundred a nd twenty (120) days from their date of issuance. ff
                        the Settlement Administrator is unable to deliver any settlement check to a
                        Qualified Settlement Class Member or if any settlement check remains
                        uncashed after the 120-day period, the settlement check will be void, and the
                        amount of all such settlement checks shall be redistributed among Qualified
                        Class Members who cashed or depos ited their F irst Distribution in accordance
                        w ith this Agreement.




NAl-1538714088v21                                     13
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 15 of 48 PageID #:4459




                     c. The Settlement Administrator shall be responsible for making all repotting and
                        filings with respect to amounts payable under this Agreement pmsuant to any
                        federal, state, or local tax law or regulation hereunder under the EIN of the QSF
                        account. The Settlement Administrator shall also be responsible for filing and
                        sending Form l 099, if necessary, to recipients of money under the Agreement.

                     d. Payments pursuant to this settlement will be deemed non-wage payments for
                        which no employer-side payroll taxes will be due, and no benefit shall increase
                        or accrue as result of payments made pursuant to this settlement. Class
                        Representatives, Settlement Class Members, and Class Counsel will be solely
                        responsible for all taxes, interest, penalties, or other amounts due with respect
                        to any payment received pursuant to the Agreement and shall defend,
                        indemnify, and hold harmless Released Parties in relation to any claim relating
                        to the same. Class Representatives, Settlement Class Members, and Class
                        Counsel have not been given nor relied upon any tax advice from the Released
                        Patties or Defendant's Counsel.

 V.       TIMING OF SETTLEMENT EVENTS AND PAYMENTS FROM SETTLEMENT
          FUND

        The Parties agree to the following timeline for settlement events. The Preliminary Approval
 Order is the base timeline for all actions.

          96.        Within three (3) calendar days of the contemporaneous filings of Plaintiffs' Motion
                     for Preliminary Approval in State Comt and Plaintiffs' Moti011 for Preliminary
                     Approval in Federal Court, the Parties will provide the Settlement Administrator
                     with a class list that shall consist of all Settlement Class Members' names and last-
                     known addresses based on information reasonably available to the Parties and as
                     produced in the Litigation ("Settlement Class List"). The Paities will work
                     cooperatively to gather information for the Settlement Class List.

          97.        The Settlement Administrator will mail the Class Notice approved by the State
                     Court to the Settlement Class Members, and publish the Class Notice on the
                     Settlement Website in accordance with this Agreement, by the Notice Date.

          98.        All objections to the Settlement must be postmarked, and requests for exclusion
                     from the Settlement must be postmarked or emailed, within forty-two (42) days
                     from the date of the mailing of the Class Notice to Class Members, and must
                     comport with the provisions of Sections IX & X of this Agreement to be valid.

          99.        Class Counsel shall file a Motion for Final Approval of this settlement in State
                     Court no later than seven (7) days before the Final Approval Hearing. Class
                     Counsel shall also file a Motion for Final Approval in Federal Court no later than
                     seven (7) days before the Final Approval Hearing. The Final Approval Hearing
                     shall be set approximately one hundred (100) days following the Preliminary
                     Approval Hearing.


 NAl-1538714088v21                                    )4
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 16 of 48 PageID #:4460




          I 00.     Any Fee Award by the State Court shall be paid from the Settlement Fund by the
                    Settlement Administrator to Class Counsel within five (5) days after Final Approval
                    or as soon thereafter as possible, notwithstanding the existence of any timely filed
                    objections thereto or to the Settlement, or potential for appeal therefrom, or
                    collateral attack on the awarded fees and expenses, the Settlement, or any part
                    thereof. Payment of the Fee Award shall be made via wire transfer to an account or
                    accounts designated by Class Counsel after providing necessary information for
                    electronic transfer. The Fee Award paid to Class Counsel wil I be subject to potential
                    repayment pursuant to the terms set forth below.

          10 I.      Each Class Counsel's law firm receiving any po1tion of a Fee Award, as a condition
                     ofreceiving such payment, agrees on behalf of itself and each equity partner and/or
                     shareholder of it that the law firm and its equity partners and/or shareholders are
                     subject to the jurisdiction of the Court for the purpose of enforcing the provisions
                     of this paragraph. Class Counsel executing this Settlement stipulate, warrant, and
                     represent that they have actual authority to enter into the obligations set fo1th in this
                    paragraph on behalf of the law firms indicated below, and the shareholders,
                     members, and/or partners of those law firms respectively. ln the event that the
                    Effective Date does not occur, or the Final Judgment or the order granting a Fee
                    Award is reversed or modified by a final non-appealable order, or this Agreement
                     is canceled or terminated for any other reason, and such reversal, modification,
                    cancellation or termination becomes final and not subject to review, and in the event
                    that the Fee Award has been paid to any extent, then: (a) Class Counsel and their
                    law firms with respect to the Fee Award paid shall within ten (10) calendar days
                    from receiving notice from Defendant' s Counsel or from a court of appropriate
                    jurisdiction, refund to the Settlement Fund such fees and expenses previously paid
                    to them from the Settlement Fund plus interest thereon at the same rate as earned
                    on the Settl.ement Fund in an amount consistent with such reversa l or modification.
                    lfthe Fee Award is reduced o n appeal, but all other terms of the Agreement remain
                    in full effect, Class Counsel and their law firms shall repay the portion of the Fee
                    Award by which it is reduced and any interest earned thereon at the same rate as
                    earned on the Settlement Fund. This partial repayment of the Fee Award shall be
                    applied to the Settlement Fund and distributed in accordance with the terms of the
                    Agreement. If Class Counsel fail to repay any portion of the Fees Award as required
                    by this paragraph, the Court shall, upon application by Defendant and notice to
                    Class Counsel, issue such orders as appropriate to compel compliance by Class
                    Counsel and their respective law firms, and shall award reasonable attorneys' fees
                    and expenses incurred by Defendant in connection with the enforcement of this
                    paragraph. Neither the death, incapacitation, personal bankruptcy, or disbarment of
                    any of Class Counsel nor the dissolution, winding up, bankruptcy, merger,
                    acquisition, or other change in the composition or solvency of their law firms shall
                    in any way affect the obligations of Class Counsel in this paragraph.

         102.       Within thirty (30) calendar days of the Effective Date, the Settlement Administrator
                    will (a) pay the Service Awards as approved by the State Court to Plaintiffs; and


NAl-1538714088v21                                      15
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 17 of 48 PageID #:4461




                     (b) mail the First Distribution of the Net Settlement Awards to all Qualified Class
                     Members. The front of the envelopes containing the settlement checks shall be
                     marked with words identifying the contents as impo1tant and/or time sensitive.

          I 03 .     Because the Qualified Class Members' pro rata shares of the Net Settlement
                     Amount will each be greater than $600, Qualified Class Members will be required
                     to submit updated tax repo1ting information to the Settlement Administrator in
                     order to receive their entire pro rata share without tax penalties and automatic
                     withholdings from the Settlement Administrator.

          104.       The checks issued by the Settlement Administrator will state on their face that they
                     are valid for one hundred twenty (120) days from their date of issuance. If any
                     Qualified Class Member's settlement check is not cashed within that 120-day
                     period, the check will be void. If the Settlement Administrator is unable to deliver
                     any settlement check to a Qualified Class Member or if any check remains uncashed
                     after the 120-day period, the check will be void and the amount of all such
                     settlement checks shall be redistributed among Qualified Class Members who
                     cashed or deposited their First Distribution.

          105.       Qualified Class Members who timely submit verified tax information to the
                     Settlement Administrator by the date indicated on the Class Notice will receive the
                     full amount of their Net Settlement Award through the First Distribution. Qualified
                     Class Members who do not submit their verified tax information prior to the date
                     indicated on the Class Notice shall have their First Distribution subject to automatic
                     withholdings pursuant to IRS guidelines.

          106.       Qualified Class Members who do not submit their verified tax information prior to
                     the First Distribution, but who do so within ninety (90) days of the First Distribution
                     shall have any amounts withheld by the Settlement Administrator pursuant to IRS
                     guidelines from the First Distribution included in the Second Distribution.
                     Qualified Class Members who do not submit their verified tax information within
                     ninety (90) days of the First Distribution shall have their Second Distribution
                     subject to automatic withholdings pursuant to IRS guidelines.

          107.       To the extent any payments to Plaintiffs or the Class Members are tax reportable
                     by the Settlement Administrator, the funds shall be reported on IRS Form 1099.
                     Neither Defendant, Class Counsel, the other Released Parties, nor Defendant's
                     Counsel have made any representations regarding the tax consequences of any
                     amounts Plaintiffs or any Class Members receive pursuant to this Agreement. The
                     Plaintiffs and Class Members are solely responsible and agree to release and hold
                     Defendant and all other Released Parties harmless for any and all potential and/or
                     actual tax consequences that result from any payments to them or for their benefit
                     pursuant to this Agreement.

          108.       If the Settlement Administrator is unable to deliver any settlement check to a Class
                     Member or if any check remains uncashed after one hundred twenty (120) days


 NAl-1538714088v21                                     16
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 18 of 48 PageID #:4462




                    from its issuance, the check will be void and the amount of all such settlement
                    checks (from the First Distribution) shall be redistributed equally, subject to
                    required IRS withholdings, among Qualified Class Members who cashed their First
                    Distribution check as a Second Distribution. This Second Distribution shall be
                    mailed within ninety (90) days of the expiration of the First Distribution checks. If
                    any Second Distribution check remains uncashed after one hundred and twenty
                    ( 120) days from its issuance, such uncashed checks shall be void and the amounts
                    distributed to a cy pres recipient agreed to by the Parties and approved by the State
                    Court.

          I 09.     The Patties may, by mutual agreement, agree upon a reasonable extension of time
                    for deadlines and dates reflected by this Agreement, without further notice to the
                    State Court or the Federal Court.

VI.      RELEASE

          110.      Released Claims

                    a.   For all periods up to and including the date of Final Approval, and in exchange
                         for good and valuable consideration, the receipt and sufficiency of which is
                         hereby acknowledged, all Settlement Class Members who do not timely opt-out
                         of the settlement, and all their respective heirs, assigns, executors,
                         administrators, and agents, past or present, fully and without limitation release
                         and discharge each and every Released Patty from any and all claims, rights,
                         demands, liabilities, and/or causes of action of every nature and description,
                         whether known or unknown, which relate in any way to information that is or
                         could be protected under the Illinois Biometric Information Privacy Act, 740
                         ILCS 14/ 1 et seq. , or any other similar state, local, or federal law, regulation, or
                         ordinance, or common law, regarding the collection, capture, receipt,
                         possession, maintenance, storage, transmission, or disclosure of biometric
                         identifiers or biometric information that Settlement Class Members claim,
                         might claim, or could have claimed in any court or administrative proceeding.
                         This Release includes, without limitation, statutory, constitutional, contractual,
                         and/or common law claims for damages, unpaid costs, penalties, liquidated
                         damages, punitive damages, interest, attorneys' fees, litigation costs, restitution,
                         or equitable relief to the extent permitted by applicable law.

         111.       Waiver of Rights

                    a. The Settlement is intended to extinguish all Released Claims, and, consistent
                       with such intention, upon final approval of the settlement, Qualified Settlement
                       Class Members shall waive and relinquish, to the fullest extent permitted by
                       law, the provisions, rights, and benefits of any state, federal or foreign law or
                       principle of common law, which may have the effect of limiting the Release set
                       forth above. This shall include a waiver of any rights pursuant to provision of
                       any federal, state, or foreign law, or principle of common law that provides: A


NAl-1538714088v21
                                                        17
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 19 of 48 PageID #:4463




                         GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
                         CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
                         FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
                         KNOWN BY HIM ORHERMUSTHAVEMATERIALLY AFFECTED HIS
                         OR HER SETTLEMENT WITH THE DEBTOR.

          112.       General Release by Class Representatives

                     a. In consideration for the promises set forth herein, in addition to the Released
                        Claims, the Class Representatives, for themselves and their respective agents,
                        heirs, predecessors, successors, assigns, representatives and attorneys, do
                        hereby waive, release, acquit and forever discharge each of the Released Parties
                        from any and all claims, demands, rights, liabilities and causes of action of
                        every nature and description whatsoever, known or unknown, asserted or that
                        might have been asserted, whether in to11, contract, or for violation of any local,
                        state or federal statute, rule or regulation arising out of, relating to, or in
                        c01rnection with any act or omission by or on the part of any of the Released
                        Parties, committed or omitted prior to the date of the Final Approval Order
                        except as limited herein and by law. This additional release includes all known
                        and unknown claims of any nature whatsoever.

 VII.     PRELIMINARY APPROVAL AND FINAL APPROVAL

          113.       The Settlement Agreement requires the occunence of all of the following events:
                     (a) execution of the Settlement Agreement by the Pa11ies; (b) submission of the
                     Settlement Agreement to the State Court for preliminary approval and provisional
                     ce1tification of the settlement class under 735 ILCS 5/2 80 l; (c) submission of the
                     Settlement Agreement to the Federal Court for preliminary approval of the
                     Settlement Agreement and approval to administer the Settlement in State Court; (d)
                     entry of the Preliminary Approval Order by the State Court provisionally ce1tifying
                     the Class under 735 ILCS 5/2 801 for settlement purposes and preliminarily
                     approving the Settlement Agreement; (e) entry of an order by the Federal Court
                     preliminarily approving the Settlement Agreement and the administration of the
                     Settlement in State Court; (f) State Cou1t approval of the method of distribution and
                     the form and content of the Class Notice; and (g) filing by Class Counsel, on or
                     before the date of the Final Approval Hearing, the State Court-approved Settlement
                     Administrator's declaration, in writing, that the Class Notice has been disseminated
                     to the Class Members in accordance with the Coutt's order ("Settlement
                     Administrator's Declaration"). The Settlement Agreement will become final and
                     effective only upon tbe occurrence of the following events: (i) the State Cou1t enters
                     the Final Approval Order and Final Judgment; (ii) the Federal Court enters an order
                     finally approving the Settlement and dismissing the Federal Case with prejudice;
                     and (iii) the Effective Date occurs.

          114.       If the Effective Date does not occur, the State Court does not grant the Final
                     Approval Order and Final Judgment, or the Federal Court does not dismiss the
                     Federal Case with prejudice, or this Settlement Agreement is otherwise nullified

 NAI·1538714088v21                                    18
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 20 of 48 PageID #:4464




                    pursuant to its terms, this Settlement Agreement shall be null and void, and the
                    agreements described above and elsewhere in this Settlement Agreement shall be
                    of no effect and inadmissible in this or any other action or proceeding.

         115.       Preliminary Approval Hearing. As soon as practicable after the execution of this
                    Agreement, the Class Representatives shall move for (i) Preliminary Approval of
                    the settlement ("Preliminary Approval") in the State Case, and (ii) preliminary
                    approval of the settlement in Federal Court. Class Counsel shall provide Defendant
                    with drafts of the preliminary approval motions for Defendant's comment no fewer
                    than ten (10) days prior to the filings, and Defendant shall provide its comments to
                    Class Counsel no more than seven (7) days after receiving such drafts. In
                    conjunction with the motion for Preliminary Approval in State Court and the
                    motion for preliminary approval in Federal Court, the Class Representatives will
                    submit this Settlement Agreement, which sets forth the terms of this Settlement,
                    and will include a proposed form of Class Notice and other documents as attached
                    hereto necessary to implement the Settlement Agreement. In the Preliminary
                    Approval motion filed in State Court, the Class Representatives shall request that
                    the State Court: (i) grant preliminary approval to the Settlement Agreement; (ii)
                    certify the Settlement Class for settlement purposes only; (iii) approve the Class
                    Notice and the proposed plan for settlement administration described herein; and
                    (iv) schedule a tentative date for a Final Approval Hearing no earlier than
                    approximately one hundred (100) days after the date of the Preliminary Approval
                    Hearing. Tn the motion for preliminary approval filed in Federal Court, the Class
                    Representatives shall request that the Federal Court preliminarily approve the
                    administration of this Settlement in State Court. The Patties shall also submit an
                    agreed-upon proposed preliminary approval order in State Cou1t, which is attached
                    hereto as Exhibit B.

VIII. NOTICE TO PROPOSED SETTLEMENT CLASS MEMBERS

         116.       Notice to the Class Members. Notice of the settlement shall be provided to
                    Settlement Class Members, and Settlement Class Members shall submit any
                    objections to the settlement, and/or requests for exclusion from the Settlement
                    Class, using the procedures set forth in Sections IX and X of this Agreement. By
                    the Notice Date the Settlement Administrator shall send a copy of the Class Notice,
                    attached hereto as Exhibit A, to Class Members via First Class U.S. mail. The Class
                    Notice will be mailed using the most current mailing address information, which
                    the Settlement Administrator shall obtain by running each Class Member' s name
                    and address through the National Change of Address (NCOA) database or
                    comparable databases. The front of the envelopes containing the Class Notice wi 11
                    be marked with words identifying the contents as important and/or time sensitive.
                    The Class Notice for each Class Member will include the approximate amount that
                    each Class Member will receive in the settlement and instructions for providing the
                    Settlement Administrator with updated tax information. The Settlement
                    Administrator shall promptly conduct a second mailing for any Class Member
                    whose Class Notice is returned as undeliverable, provided that a forwarding address
                    is provided by the U.S. Postal Service or is otherwise located by the Settlement

NAl-1538714088v21                                   19
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 21 of 48 PageID #:4465




                     Administrator through a database search. If, after this second mailing, the Class
                     Notice is again returned as undeliverable, and if no other forwarding address is
                     available, the notice mailing process shall end for that Class Member. The
                     Settlement Administrator will operate a telephone line and the Settlement Website,
                     which will allow Class Members to update their contact information.

          117.       The Notice shall be used for the purpose of informing proposed Settlement Class
                     Members, prior to the Final Approval Hearing, that there is a pending settlement,
                     and to further inform Settlement Class Members how they may: (a) protect their
                     rights regarding the settlement; (b) request exclusion from the Settlement Class and
                     the proposed settlement, if desired; (c) object to any aspect of the proposed
                     settlement, if desired; and (d) participate in the Final Approval Hearing, if desired.
                     The Notice shall make clear the binding effect of the settlement on all persons who
                     do not timely request exclusion from the Settlement Class.

 IX.      EXCLUSIONS

          118.       Exclusion Period

                     a. Settlement Class Members will have up to the Objection/Exclusion Deadline to
                        exclude themselves from the settlement. If the settlement is finally approved by
                        the State Court and the Federal Court, all Settlement Class Members who have
                        not opted out by the end of the Objection/Exclusion Deadline will be bound by
                        the settlement and deemed a Settlement Class Member and Releasing Patty as
                        defined herein.

          119.       Exclusion Process

                     a. Procedure for Requesting Exclusion. The Class Notice shall provide that
                        Settlement Class Mem hers who wish to exclude themselves from the Settlement
                        Class must submit a written statement requesting exclusion from the Settlement
                        Class on or before the Objection/Exclusion Deadline. Such written request for
                        exclusion must be signed by the Class Member and contain the Settlement Class
                        Member's full name, address, and telephone number, and must be returned by
                        mail or electronic mail to the Settlement Administrator before the
                        Objection/Exclusion Deadline. The date of the postmark on the return mailing
                        envelope or the timestamp on the electronic submission shall be the exclusive
                        means used to determine whether a request for exclusion has been timely
                        submitted. Any Class Member who excludes themselves from the Class will
                        not be entitled to any recovery under the settlement and wiJI not be bound by
                        the settlement or have any right to object, appeal or comment thereon. No later
                        than three (3) days after the Objection/Exclusion Deadline, the Settlement
                        Administrator shall furnish to Class Counsel and Defendant's Counsel a
                        complete list of all Class Members who have timely requested exclusion from
                        the Class.




 NAl-1538714088v21
                                                      20
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 22 of 48 PageID #:4466




                    b. Any member of the Settlement Class who elects to be excluded shall not: (i) be
                       bound by the Settlement or any order or judgment of the Litigation; (ii) be
                       entitled to relief under this Settlement Agreement; (iii) gain any rights by virtue
                       of this Settlement Agreement; or (iv) be entitled to object to any aspect of this
                       Settlement Agreement. Any member of the Settlement Class who attempts to
                       both object to and exclude themselves from this Settlement Agreement will be
                       deemed to have excluded themselves and will forfeit the right to object to the
                       settlement or any of its terms.

                    c. The request for exclusion must be personally signed by the person requesting
                       exclusion. So-called "mass" or "class" exclusion requests shall not be accepted
                       or valid.

                    d. A list reflecting all individuals who timely and validly excluded themselves
                       from the settlement shal l also be filed with both the State Court and Federal
                       Cowt at the time of the motions for final approval of the settlement.

                    e. If a Settlement Class Member's otherwise timely request for exc lusion is
                       defective as to any of the other requirements of Paragraph I I 9(a), that Class
                       Member will be given an opportunity to cure the defect(s). The Settlement
                       Administrator will mail the Class Member a cure letter within three (3) business
                       days ofreceiving the defective submission to advise the Class Member that their
                       submission is defective and that the defect must be cured to render the request
                       for exclusion valid ("Cure Letter"). The Class Member will have until the later
                       of: (a) the Response Deadline, or (b) fifteen (15) calendar days from the date
                       the Cure Letter is sent, to postmark or email a revised request for exclusion. If
                       a Class Member responds to a Cure Letter by filing another defective request
                       for exclusion, then the Settlement Administrator will have no further obligation
                       to give notice of a need to cure. If a request for exclusion is not postmarked or
                       emai led within the later of: (a) the Response Deadline or (b) fifteen (15)
                       calendar days from the date of the Cure Letter, it will be deemed untimely and
                       will be rejected. The Settlement Administrator shall not send Cure Letters for
                       any " mass" or "class" exclusion requests.

         120.       Excessive Opt-Outs. Defendant reserves the right to void this Agreement if more
                    than seven percent (7%) of Class Members exclude themselves from the settlement.
                    In that event, this Settlement Agreement is void and the Parties w ill return to their
                    respective pos itions as of the date immediately prior to the execution of this
                    Agreement.

X.       OBJECTIONS

         121.       Procedure for Objecting. The C lass Notice shall provide that Class Members who
                    wish to object to the settlement must mail a written statement objecting to the
                    settlement to the Clerk of the State Cowt and the Settlement Administrator. Such
                    written statement must be postmarked no later than forty-two (42) days after the



NAl-1538714088v21
                                                     21
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 23 of 48 PageID #:4467




                      date the Class Notice is first mailed (the "Objection/Exclusion Deadline Date"). No
                      Class Member shall be entitled to be heard at the Final Approval Hearing (whether
                      individually or through separate counsel) or to object to the settlement, and no
                      written objections or briefs submitted by any Class Member shall be received or
                      considered by the State Court at the Final Approval Hearing, unless written notice
                      of the Class Member's intention to appear at the Final Approval Hearing (if such
                      Class Member does intend to appear either personally or through counsel), and/or
                      copies of any written objections or briefs, have been filed with the Clerk of the State
                      Court and provided to the Settlement Administrator on or before the
                      Objection/Exclusion Deadline. The date of the postmark on the mailing envelope
                      shall be the exclusive means used to determine whether an objection to the
                      settlement has been timely submitted. No later than three (3) days after the
                      Objection/Exclusion Deadline, the Settlement Administrator shall furnish to Class
                      Counsel and Defendant's Counsel copies of objections received from Class
                      Members. Class Members who fail to submit timely written objections in the
                      maimer specified above shall be deemed to have waived any objections and shall
                      be foreclosed from making any objection (whether by appeal or otherwise) to the
                      settlement.

          122.         Any Settlement Class Member who intends to object to this Settlemerit Agreement
                       must include in any such objection: (i) their full name, address, email address, and
                       current telephone number; (ii) the case name and number of the State Case; (iii) all
                       grounds for the objection, with factual and legal suppott for the stated objection,
                       including any supporting materials; (iv) the identification of any other objections
                     . they have filed, or has had filed on their behalf, in any other class action cases in
                       the last four years; and (v) the objector's signature. If represented by counsel, the
                       objecting Settlement C lass Member must also provide the name and telephone
                       number of their counsel. If the objecting Settlement Class Member intends to
                       appear at the Final Approval Hearing, either with or without counsel, they must
                       state as such in the written objection, and must also identify any witnesses tl~ey may
                       call to testify at the Final Approval Hearing and all exhibits they intend to introduce
                       into evidence at the Final Approval Hearing, which must also be attached to, or
                       included with, the written objection.

 XI.      FINAL APPROVAL HEARING

          123.        At least seven (7) calendar days prior to the Final Approval Hearing, Class Counsel
                      shall contemporaneously file with the State Court and the Federal Coutt: (a) a
                      motion for final approval of settlement to be conducted at the State Court; and (b)
                      a copy of the Settlement Administrator's Declaration. Class Counsel shall provide
                      Defendant with drafts of the final approval motions for Defendant's comment no
                      fewer than ten (10) days prior to the filings, and Defendant shall provide its
                      comments, if any, within seven (7) days of receiving the drafts.

          124.        At the Final Approval Hearing, the Plaintiffs will request that the State Court,
                      among other things, enter a Final Approval Order and Final Judgment that:



 NAl-1538714088v21                                      22
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 24 of 48 PageID #:4468




                    a. grants final certification, for settlement purposes, of the Settlement Class under
                       735 [LCS 5/2 801;

                    b. approves the Settlement Agreement as a final, fair, reasonable, adequate and
                       binding release of all claims as set forth herein by all Settlement Class Members
                       who have not timely opted out;

                    c. approves the Settlement Agreement as a final, fair, reasonable, adequate, and
                       binding General Release of all claims as set fo1th herein by the Class
                       Representatives;

                    d. dismisses the State Case with prejudice; and

                    e. retains jurisdiction only for the purposes of enforcing the Parties' respective
                       obligations as set forth in this Agreement.

         125.       At the Final Approval Hearing, Plaintiffs will request that the Federal Court, among
                    other things, enter an order that approves the Settlement Agreement under Fed. R.
                    Civ. P. 23 and dismisses the Federal Case with prejudice.

         126.       Only counsel for the Paities and Settlement Class Members who have filed timely
                    objections to the Settlement Agreement in accordance with Paragraph 122 and who
                    have not opted out may participate in the Final Approval Hearing.

XII.     FINAL APPROVAL ORDER AND ENTRY OF FINAL JUDGMENT

         127.       The settlement is contingent on a Final Approval Order and Final Judgment. lfthe
                    State Court or Federal Court does not approve any material condition of this
                    Settlement Agreement that effects a fundamental change to the terms of the
                    settlement hereunder, the entire Settlement Agreement wi II be voidable and
                    unenforceable.

         128.       fn the event this Settlement Agreement does not become final and the Class Notice
                    has already been sent to Settlement Class Members, the Settlement Administrator
                    will provide notice to the Settlement Class Members that the Settlement Agreement
                    did not receive final approval and that, as a result, no payments will be made to
                    Settlement Class Members under the Settlement Agreement, in a form jointly
                    agreed upon by the Parties. Such notice shall be mailed by the Settlement
                    Administrator via First Class U.S. Mail, postage prepaid, to the addresses used by
                    the Settlement Administrator in mailing the Class Notice. The costs of such mailing
                    shall be split equally between Class Counsel and the Defendant.

         129.       Class Counsel and Defendant agree to cooperate and take all steps necessary and
                    appropriate to otherwise effectuate all aspects of this Settlement Agreement.

XIII. UNDISTRIBUTED SETTLEMENT AW ARDS




NAl-1538714088v21                                    23
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 25 of 48 PageID #:4469




          130.       A Class Member who excludes himself or herself from this settlement will not
                     receive any payment from the Net Settlement Amount.

          131.       Any Class Member wbose First Distribution or Second Distribution was not cashed
                     or deposited prior its becoming void, will neve1theless be deemed to have waived
                     irrevocably any right or claim to his or her payment from the Net Settlement
                     Amount, but the settlement nevertheless will be binding upon the Settlement Class
                     Member.

          132.       Defendant shall not be liable to any Settlement Class Member for any loss related
                     to any wrongly or fraudulently cashed check, including, but not limited to, instances
                     where any settlement check is mailed or delivered to an incorrect or outdated Class
                     Member address, or any settlement check is received or intercepted by any
                     individual other than the intended Settlement Class Member recipient. In such
                     event, Defendant shall have no obligation to issue a replacement settlement check,
                     and the Class Member will remain bound by the Release stated herein. The
                     Settlement Fund comprises Defendant's entire monetary obligation under this
                     Agreement.

 XIV. NULLIFICATION OF THE SETTLEMENT

          133.       The settlement is contingent on a Final Approval Order and Final Judgment. The
                     Patties will work cooperatively to resolve any issues preventing approval and use
                     their best effo1ts to obtain Final Approval. If: (i) the State CoUlt does not enter the
                     Final Approval Order and Final Judgment; (ii) the State Court o r Federal Court
                     does not finally approve the Class and Settlement as provided herein; (iii) the final
                     judgment in the Litigation does not become final for any reason; or (iv) the
                     settlement does not become final for any other reason, this Settlement Agreement
                     shall be null and void, and any order or judgment entered by the State Court or
                     Federal Comt in furtherance of this settlement shall be treated as void ab initio. In
                     such a case: (i) the Parties shall be returned to their respective statuses as of the date
                     and time immediately prior to the execution of this Settlement Agreement; (ii) any
                     funds awarded or to be awarded under this Settlement, less administrative expenses
                     already incurred by the Settlement Administrator in connection with its obligations
                     under this Agreement, shall be returned to Defendant as of the date and time
                     immediately prior to the execution of this Settlement Agreement, including any
                     portion or all of the Fee Award, which shall be subject to repayment in accordance
                     with Paragraph 10 l ; and (iii) the Parties shall proceed in all respects as if this
                     Settlement Agreement had not been executed. In the event an appeal is filed from
                     the Cou1t's Final Approval Order, or any other appellate review is sought prior to
                     the Effective Date, administration of the settlement shall be stayed pending fin al
                     resolution of the appeal or other appellate review.

          134.       In the event that the Agreement is not approved by the State Court or the Federal
                     Cou1t, the Pa1ties agree to use their best effo1ts to negotiate terms and conditions
                     that will be approved by the State Cowt and/or the Federal Cowt. In such event,



 NAl-1538714088v21                                      24
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 26 of 48 PageID #:4470




                    the Parties agree to seek assistance from Judge Kennelly to resolve any disputed
                    issues that prevent approval and/or dismissal.

XV.      ATTORNEYS' FEES, COSTS AND EXPENSES AND SERVICE A WARDS

          135.      At least twenty-one (21) days prior to the Objection/Exclusion Deadline, Class
                    Counsel shall file a Fee and Expense Application with the State Court, which will
                    be posted on the Settlement Website. Class Counsel have agreed, with no
                    consideration from Defendant, to limit their Fee Request to no more than thirty-
                    five percent (35%) of the Settlement Fund, plus reasonable costs and expenses. The
                    State Court's award of a lesser amount than that requested by Class Counsel shall
                    not nullify the Agreement.

         136.       The Fee Award approved by the State Court shall be paid to Class Counsel from
                    the Settlement Fund as set forth herein.

         137.       Any amounts for Class Counsel's Fee Award not awarded shall be added to the Net
                    Settlement Amount available for distribution to Class Members as settlement
                    awards.

         138.       The payment of the Fee Award to Class Counsel shall constitute full satisfaction of
                    the obligation to pay any amounts to any person, attorney or law firm for attorneys'
                    fees, expenses or litigation expenses in the Litigation incurred by any attorney on
                    behalf of the Class Representatives and the C lass Members, and shall relieve
                    Defendant, the Released Parties, the Settlement Administrator, and Defendant's
                    Counsel of any other claims or liability to any other attorney or law firm for any
                    attorneys' fees, expenses and/or costs to which any of them may claim to be entitled
                    on behalf of the Class Representatives and the Class Members.

         139.       C lass Counsel will apply for a Service Award in the amount of up to $15,000 for
                    the Class Representative Richard Rogers, to be paid for his time and effort spent
                    conferring with C lass Counsel and filing and pursuing the L itigation. C lass Counsel
                    will apply for a Service Award in the amount of up to $15,000 for the C lass
                    Representative Michael Stewart, to be paid for his time and effort spent conferring
                    with Class Counsel, and filing and pursuing the State Case. The Service Awards
                    shall be paid from the Settlement Fund in the form of a check, and sha ll be subject
                    to State Court approval. The State Court's award of a lesser Service Award than
                    that requested by Class Counsel shall not nullify the Agreement. Any amounts for
                    the Service Awards not awarded shall be added to the Net Settlement Amount
                    available for distribution to Settlement C lass Members.

         140.       Notwithstanding any contrary provision of this Agreement, the State Court's
                    consideration of the Fee Award and the Service Awards are to be conducted
                    separately from the State Court's consideration of the fairness, reasonableness, and
                    adequacy of the Settlement Agreement. If the State Court reduces or disapproves
                    C lass Counsel's request for an award of attorneys' fees or costs or reduces or



NAl-1538714088v21                                    25
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 27 of 48 PageID #:4471




                     disapproves of Class Counsel's application for a Service Award to the Class
                     Representatives, such a ruling will not be grounds to terminate the settlement.

          141.       Class Counsel shaJJ provide the Settlement Administrator with completed lRS
                     Form W-9(s) before the payment of the Fee Award is due, as well as Plaintiffs '
                     completed IRS Form W-9s before the payment of the Service Awards are due.

 XVI. MISCELLANEOUS REPRESENTATIONS

          142.       Defendant agrees to timely provide documents and information to the appropriate
                     governmental authorities pursuant to Section 1715 ("CAFA Notice") no later than
                     ten (10) days after this proposed settlement is filed in Federal Court, as required by
                     the Class Action Fairness Act, 28 U.S.C. § 1715.

          143.       Except as provided herein, there shall be no comments made to the press or any
                     third patty, or any other disclosure by or through the Patties or their attorneys or
                     agents, comprising opinions as to the Litigation. Plaintiff, Class Counsel,
                     Defendant, and Defendant's Counsel shall not make any public statement,
                     including any statement to the press, regarding the Settlement Agreement or
                     settlement aside from the following agreed upon statement: "[The Parties] have
                     reached a proposed agreement and look fo1ward to the Court's review and
                     decision." or words to that effect. This paragraph shall not be construed to limit or
                     impede the notice requirements of this Agreement above; nor shal I this paragraph
                     be construed to prevent the Parties or Cow1sel for the Parties from notifying or
                     explaining to potential Settlement Class Members that this case has settled and how
                     to obtain settlement benefits; nor shall this paragraph limit the representations that
                     the Parties or Counsel for the Parties may make to the State Coutt or Federal Court
                     to assist in its evaluation of the proposed settlement; nor shall this paragraph limit
                     Defendant's ability to discuss in a confidential manner the terms of this settlement
                     with its attorneys, accountants, tax advisors, insurers, Board members, investms, or
                     employees on a need-to-know basis to the extent necessary for the operation of
                     Defendant's business. lf a Party is required by a valid, enforceable subpoena or
                     government information request to disclose information about the settlement, such
                     Party shall provide reasonable prior notice (to the extent permitted by applicable
                     law) to the other Party to allow the other Patty to seek to prevent such disclosure.
                     A Patty may also provide necessary and accurate information about the settlement
                     to other persons or entities to the extent necessary for any legitimate business
                     purpose.

          144.       For income tax purposes, the Patties agree that payments made pursuant to this
                     Agreement shall be allocated as payments in compensation for damages and shall
                     not be subject to required withholdings and deductions and may be reported as non-
                     wage income, as required by law. The Settlement Administrator shall issue to each
                     Settlement Class Member who cashes any settlement check, and any Class
                     Representative who cashes any Service Award, an IRS Form 1099. Other than the
                     repo1ting requirements herein, Settlement Class Members shall be solely


 NAl-1538714088v21                                    26
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 28 of 48 PageID #:4472




                    responsible for the reporting and payment of their share of any federal , state and/or
                    local income or other taxes on payments received pursuant to this Settlement
                    Agreement, and shall defend, indemnify, and hold harmless Released Parties in
                    relation to any claim related to taxes, interest, penalties, or other amounts due with
                    respect to any payments received pursuant to the Settlement Agreement. It is
                    understood and agreed that the Patties take no position and offer no advice
                    regarding how any Settlement Class Member chooses to treat any payment made
                    hereunder for tax or any other purpose.

         145.       Each Party to this Settlement Agreement acknowledges and agrees that: (1) no
                    provision of this Settlement Agreement, and no written communication or
                    disclosure between or among the Parties or their attorneys and other advisers
                    regarding this Settlement. Agreement, is or was intended to be, nor shall any such
                    communication or disclosure constitute or be construed or be relied upon as, tax
                    advice w ith in the meaning of United States T reasury Depa1tment Circu lar 230 (3 1
                    CFR Patt 10, as amended); (2) each Party (A) has relied exclusively upon his, her
                    or its own, independent legal and tax advisers for advice (including tax advice) in
                    connection with this Settlement Agreement, (B) has not entered into this Settlement
                    Agreement based upon the recommendation of any other Party or any attorney or
                    advisor to any other Party, and (C) is not entitled to rely upon any communication
                    or disclosure by any attorney or adviser to any other Party to avoid any tax penalty
                    that may be imposed on that Party; and (3) no attorney or adviser to any other Party
                    has imposed any limitation that protects the confidentiality of any such attorney's
                    or adviser's tax strategies (regardless of whether such limitation is legally binding)
                    upon disclosure by the acknowledging party of the tax treatment or tax structure of
                    any transaction, including any transaction contemplated by this Settlement
                    Agreement.

         146.       The Parties warrant and represent they have conducted a thorough investigation of
                    the facts and allegations in the Litigation. The Parties further represent and warrant
                    that they believe this Settlement Agreement represents a fair, adequate and
                    reasonable settlement of the Litigation and that they have arrived at this Settlement
                    Agreement through extensive arm's-length negotiations, taking into account all
                    relevant factors, present and potential.

         147.       The Parties: (i) acknowledge that it is their intent to consummate this Settlement
                    Agreement, and (ii) agree, subject to their fiduciary and other legal obligations, to
                    cooperate to the extent reasonably necessary to effectuate and implement all terms
                    and conditions of this Agreement and to exercise their reasonable best efforts to
                    accomplish the fo regoing terms and conditions of this Agreement. C lass Counsel
                    and Defendant's Counsel agree to cooperate with each other in seeking State Court
                    approval of the Preliminary Approval Order; preliminary approval of the
                    Settlement in Federal Court, including the administration of the Settlement in State
                    Court; State Court approval of the Final Approval Order; and an order from the
                    Federal Court finally approving the Settlement and dismissing the Federal Case
                    with prejudice; and promptly to agree upon and execute all such other



NAl-1538714088v21                                    27
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 29 of 48 PageID #:4473




                     documentation as may be reasonably required to obtain final approval of the
                     settlement.

          148.       The Parties intend this Settlement Agreement to be a final and complete resolution
                     of all disputes between them with respect to the Released Claims by Plaintiffs and
                     the Settlement Class Members, and each or any of them, on the one hand, against
                     the Released Parties, on the other hand. Accordingly, the Parties agree not to assert
                     in any forum that the Litigation was brought by Plaintiffs or defended by
                     Defendant, or each or any of them, in bad faith or without a reasonable basis.

          149.       The Patties have relied upon the advice and representation of counsel, selected by
                     them, concerning their respective legal liability for the claims hereby released. The
                     Parties have read and understand fully this Settlement Agreement, including its
                     Exhibits, and have been fully advised as to the legal effect thereof by counsel of
                     their own selection and intend to be legally bound by the same.

          150.       The terms of this Settlement Agreement include the terms set fotth in the attached
                     Exhibits, which are incorporated by this reference as though fully set fotth herein.
                     Any Exhibits to this Settlement Agreement are an integral part of the settlement.
                     The descriptive headings of any paragraphs or sections of this Agreement are
                     insetted for convenience of reference only and do not constitute a part of this
                     Settlement Agreement.

          151.       Before declaring any provision of this Settlement Agreement invalid, the State
                     Cou1t and Federal Couit shall first attempt to construe the provisions valid to the
                     fullest extent possible consistent with applicable precedents so as to define all
                     provisions of this Settlement Agreement valid and enforceable.

          152.       The waiver by one Patty of any breach of this Settlement Agreement by any other
                     Patty shall not be deemed as a waiver of any prior or subsequent breach of this
                     Agreement.

          153.       This settlement and any Exhibits constitute the entire agreement among these
                     Patties relating to any and all matters addressed in the Settlement Agreement, and
                     all prior or contemporaneous negotiations, agreements, understandings,
                     representations, and statements, including but not limited to the Settlement Term
                     Sheet, whether oral or written and whether by one of the Parties or such Parties'
                     legal counsel, shall be deemed superseded by this Settlement Agreement.

          154.       This Settlement Agreement may be amended or modified only by a written
                     instrument signed by counsel for all Patties or their successors in interest, except
                     that the Paities may agree, subject to the approval of the State Comt and/or Federal
                     Court where required, to reasonable extensions of time to carry out the provisions
                     of the Agreement.

          155 .      Except as otherwise provided herein, each Party shall bear its own costs.


 NAl-1538714088v21                                    28
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 30 of 48 PageID #:4474




         156.       Plaintiffs represent and warrant that they have not assigned any claim or right or
                    interest therein as against the Released Parties to any other person or party.

         157.       The Parties represent that they have obtained the requisite authority to enter this
                    Settlement Agreement in a manner that binds all Parties to its terms.

         158.       The Pa1ties specifically acknowledge, agree and admit that this Settlement
                    Agreement and its Exh ibits, along with all related drafts, motions, pleadings,
                    conversations, negotiations, correspondence, orders or other documents shall be
                    considered a compromise within the meaning of Federal Rule of Evidence Rule 408
                    and the Illinois Rule of Evidence Rule 408, and any other equivalent o r s imilar rule
                    of evidence, and shall not: (1) constitute, be construed, be offered, or received into
                    evidence as an admission of the validity of any claim or defense, or the truth of any
                    fact alleged or other allegation in the Litigation or in any other pending or
                    subsequently filed action, or of any wrongdoing, fault, violation of law, or liability
                    of any kind on the part of any Party, or (2) be used to establish a waiver of any
                    defense or right, or to establish or contest jurisdiction or venue.

         159.       The provisions of this Settlement Agreement, and any orders, pleadings or other
                    documents entered in furtherance of this Settlement Agreement, may be offered or
                    received in evidence solely: (1) to enforce the terms and provisions hereof or
                    thereof, (2) as may be specifically authorized by a court of competent jurisdiction
                    after an adversarial hearing upon application of a Party hereto, (3) in order to
                    establish payment, or an affirmative defense of preclusion or bar in a subsequent
                    case, ( 4) in connection with any motion to enjoin, stay or dismiss any other action,
                    and/or (5) to obtain State Court approval and Federal Court approval of the
                    Settlement Agreement.

         160.       This Settlement Agreement may be executed in one or more counterparts. All
                    executed counterparts and each of them shall be deemed to be one and the same
                    instrument. Signatures transmitted by fax, PDF, or other electronic means shall
                    have the same effect as an original ink s ignature.

         161.       This Settlement Agreement shall be binding upon, and inure to the benefit of, the
                    successors or assigns of the Patties hereto, as previous ly defined.

         162.       All terms of this Settlement Agreement and the Exhibits hereto shall be governed
                    by and interpreted according to the laws of the state of 111 inois.

         163 .      Each of the Parties has cooperated in the drafting and preparation of this Settlement
                    Agreement. Hence, in any construction made to this Settlement Agreement, the
                    same shall not be construed against any of the Patties.

         164.       Unless otherwise stated herein, any notice required or provided for under this
                    Agreement shall be in writing and shall be sent by electronic mail or hand delivery,
                    postage prepaid, as follows:

NAl-1538714088v21                                    29
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 31 of 48 PageID #:4475




                      If to Class Counsel:                     If to Defendant' s Counsel:

                      Evan M . Meyers                          Michael J. Gray
                      David L. Gerbie                          Efrat R. Schu lman
                      M CGUIRE LA W, P.C.                      JONES D AY
                      55 W. Wacker Drive, 9th Fl.              110 N. Wacker Dr., Suite 4800
                      Chicago, IL 60601                        Chicago, IL 60606
                      emeyers@mcgpc.com                        mjgray@jonesday.com
                      dgerbie@mcgpc.com                        eschulman@jonesday.com


          165.       T his Agreement shall be deemed executed as of the date that the last party signatory
                     signs the Agreement.

            [Signatures on fo llowing page. Remainder of this page intentionally left blank.]




 NAl-1538714088v21                                    30
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 32 of 48 PageID #:4476




       IN WITNESS HEREOF, the undersigned have caused this Settlement Agreement to be
executed as of the dates set fo rth below.


 RICHARD ROGERS, individually and as Class Representati ve

 Signature: _ _ _ _ _ _ __ _ __

 Date: _ __ _ _ _ _ _ _ __ _ _

 MICHAEL STEWART, individually and as Class Representative

 Signature: _ _ __ _ __ _ _ __

 Date: _ __ _ _ _ _ _ _ _ __ _

 MCGUIRE LAW, P.C., as Class Counsel

 By: _ _ __         _   _ __   _     _   _

 Print Name: _ _ _ _ __ _ _ __

 Date: _ __ _ __ __ __ _ __

 Loevy and Loevy, as Class Counsel

 By: _ _ _ _ _ __ __ __

 Print Name: _ _ _ _ __ _ __ _

 Date: _ __ _ __ _ __ _ _ __




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 Date :   F<l,. (Z,     21rzq




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              Case: 1:19-cv-03083   Document #: 295-1 Filed: 02/26/24 Page 33 of 48 PageID #:4477




                    IN WITNESS HEREOF, the undersigned have caused this Settlement Agreement to be
             executed as of the dates set forth below.


              RICHARD ROGERS, individually and as Class Representative

              Signature: __________________________
                       
              Date: ______________________________

              MICHAEL STEWART, individually and as Class Representative

              Signature: __________________________
                       
              Date: ______________________________

              MCGUIRE LAW, P.C., as Class Counsel

              By: ________________________________
                                 
              Print Name:_______________________
                       
              Date: ______________________________

              Loevy and Loevy, as Class Counsel

              By: ________________________________
                            
              Print Name:_______________________
                     
              Date: ______________________________

              BNSF Railway Company, as Defendant

              By: ________________________________

              Print Name:_ ______________________

              Date: ______________________________




             NAI-1538714088v21                            31
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 34 of 48 PageID #:4478




                         Exhibit A
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 35 of 48 PageID #:4479




                   NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
        Rogers v. BNSF Railway Company, No. 2019-CH-04393 (Cir. Ct. Cook Cnty., Ill.)

                      For more information, visit ,11ww.BNSFBIPAClassAction.com.
                  Para infonnacion en Espanol, visitar www.BNSFBIPAClassAction.com.

PLEASE READ THIS NOTICE CAREFULLY. YOU MAY BE ENTITLED TO A CASH
PAYMENT FROM A CLASS ACTION SETTLEMENT IF YOU REGISTERED YOUR
FINGERPRINT INFORMATION USING AN AUTO-GATE SYSTEM AT ANY OF BNSF'S
ILLINOIS FACILITIES AT ANY TIME BETWEEN APRIL 4, 2014 AND [DATE OF
PRELIMINARY APPROVAL].

 This is a court-authorized notice of a proposed class action settlement. This is not a solicitatio11 from a
                            lawyer and is not notice ofa lawsuit against you.

WHY DID I GET A NOTICE?

The Court has authorized notice ofa proposed settlement in a class action lawsuit, Rogers v. BNSF Railway
Company, No. 20 l 9-CH-04393, pending in the Circuit Court of Cook County, Illinois before the Honorable
Judge Pamela McLean Meyerson. The Settlement would resolve two lawsuits brought on behalf of persons
who allege that BNSF Railway Company ("Defendant") required truck drivers to register their fingerprint
information using an auto-gate system at BNSF's IIJinois facil ities without complying with the Illinois
Biometric Information Privacy Act, 740 ILCS § 14/1, et seq. ("BIPA"). The lawsuits are: Rogers v. BNSF
Railway Company, No. 19-cv-03083 (N.D. Ill.) and Rogers v. BNSF Railway Company, No. 2019-CH-
04393 (Cook Cnty., Ill.) You have been identified as someone who may have registered your fingerprint
information using an auto-gate system at one ofBNSF's four fllinois facilities between April 4, 2014 and
[Date of Preliminary Approval]. The Court has granted preliminary approval of the Settlement and has
preliminarily certified the Settlement Class for purposes of settlement only. This notice explains the nature
of the class action lawsuit, the terms of the Settlement, and the legal rights and obligations of the Settlement
Class Members. Please read the instructions and explanations below so that you can better understand your
legal rights.

WHAT IS THIS LAWSUIT ABOUT?

Plaintiffs allege BNSF captured, collected, received through trade, or otherwise obtained the biometrics
(fingerprints) of individuals who visited its Illinois facilities without receiving informed written consent
from those individuals and that BNSF stored and possessed those biometrics without first posting a
publicly-available retention and destruction schedule. Plaintiffs, who are truck drivers, claim that BNSF
required them to submit their fingerprint biometrics in order to gain access to BNSF's facilities in Illinois
wh ile they were delivering or picking up loads of freight. Plaintiffs allege that this practice of obtaining
biometrics without informed written consent and without a publicly-available retention and destruction
schedule violated the Tilinois Biometric Information Privacy Act ("BIPA"), 740 ILCS 14/e/ seq., and that
similarly situated individuals are entitled to recover statutory damages. BNSF denies that it violated BIPA
and denies that any Plaintiff or Class Member has been harmed in any way.

WHY IS THIS A CLASS ACTION?


                                                  Page I of5
 QUESTIONS? VISIT w111111.BNSFBIPAC/assAction.com OR CALL TOLL FREE 1-888-905-0306
  Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 36 of 48 PageID #:4480




   A class action is a lawsuit in which an individual called a "Class Representative" brings a lawsuit on behalf
   of other people who have similar claims. All of these people together are a "Class" or "Class Members." A
   class action Settlement finally approved by the Court resolves the issues for all Settlement Class Members,
   except for those who exclude themselves from the Settlement Class.

   WHY IS THERE A SETTLEMENT?

   To resolve this matter without the expense, delay, and uncertainties of continued litigation, the Parties have
   reached a Settlement, which resolves all biometric-related claims against the Released Parties, including
   Defendant. The Settlement requires Defendant to pay money to the Settlement Class Members, as well as
   pay the Settlement Administrator's expenses, attorneys' fees and costs to Class Counsel, and Service
   A wards to the Class Representatives, if approved by the Court.

   The Cou1i has already preliminarily approved the Settlement. Nevertheless, because the settlement of a
   class action determines the rights of all members of the class, a court overseeing this lawsuit must give final
   approval to the Settlement before it can be effective. The Court has conditionally ce1ti:fied the Settlement
   Class for settlement purposes only, so that members of the Settlement Class can be given this notice and
   the opportunity to exclude themselves from the Settlement Class, and to voice their suppo1t or opposition
   to final approval of the Settlement. If the Court does not give Final Approval of the Settlement, or if it is
   terminated by the Parties, the Settlement will be void, and the lawsuits above will proceed as if there had
   been no settlement and no certification of the Settlement Class.

   WHO IS IN THE SETTLEMENT CLASS?

   You are a member of the Settlement Class if you registered your fingerprint information using an auto-gate
   system at any ofBNSF's four Illinois Facilities between April 4, 2014 and [Date of Preliminary Approval).

   WHAT ARE MY OPTIONS?

(1) Accept the Settlement.

   To receive payment from the Settlement Fund, you do not have to do anything. If the Cowt approves the
   Settlement, the Settlement Administrator will automatically send a check to your last known mailing
   address. In order to receive your share of the Settlement Fund without taxes being automatically withheld ,
   you must provide your social security number and/or other tax information to the Settlement Administrator.
   If you do not provide your tax information to the Settlement Administrator, a po1tion of your share of the
   Settlement Fund may be withheld by the Settlement Administrator pursuant to IRS guidelines. Please visit
   the Settlement Website at BNSFBIPAClassAction.com and provide your tax information by Month Day,
   2024. lf you wish to update or confirm your mailing address, or to confirm your eligibility under the
   Settlement, you may do so by emailing info@BNSFBIPAClassAction.com.

(2) Exclude yourself.

   You may exclude yourself from the Settlement. If you do so, you will not receive any cash payment, but
   you will not re!l::ase any claims you may have against the Released Patties (as that term is defined in the



                                                    Page 2 of5
     QUESTIONS? VISIT www.BNSFBIPAC/assActio11.com OR CALL TOLL FREE 1-888-905-0306
   Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 37 of 48 PageID #:4481




   Settlement Agreement) and are free to pursue whatever legal rights you may have by pursuing your own
   lawsuit against the Released Parties at your own risk and expense. To exclude yoursel ffrom the Settlement,
   you must mail a signed letter to the Settlement Administrator at BNSF BIPA Class Action Lawsuit, P.O.
   Box 5803, Portland, OR 97228-5803 postmarked by Month Day, 2024. You may also exclude yourself by
   emailing your request for exclusion to info@BNSFBIPASlassAction.com by Month, Day, 2024. The
   exclusion letter must state that you exclude yourself from this Settlement, include your full name, address,
   and telephone number, and be signed by you.

(3) Object to the Settlement.

   If you wish to object to the Settlement, you must submit your objection in writing to the Clerk of the
   Court of the Circuit Court of Cook County, Illinois, 50 W. Washington Street, #802, Chicago, IL 60602.
   The objection must be postmarked no later tlian Month Day, 2024. You must also send a copy of your
   objection to the Settlement Administrator at BNSF BTPA Class Action Lawsuit, P.O. Box 5803, Portland,
   OR 97228-5803, postmarked no later than Month Day, 2024. Any objection to the proposed Settlement
   must include your (i) full name, address, telephone number, and email address; (ii) the case name and
   number of the State Case; (iii) all grounds for the objection, with factual and legal support for the stated
   objection, including any suppo1iing materials; (iv) the identification of any other objections you have
   filed, or have had filed on your behalf, in any other c lass action cases in the last four years; and (v) your
   s ignature. ff you hire an attorney in connection with making an objection, that attorney must also file with
   the Court a notice of appearance by the objection deadli ne of Month Day, 2024. Tfyou do hire your own
   attorney, you wil l be solely responsible for payment of any fees and expenses the attorney incurs on your
   behalf. If you exclude yourself from the Settlement, you cannot file an objection.

   You may appear at the Final Approval Hearing, which will be held on Month Day, 2024 in Courtroom 2305
   of the Circuit Court of Cook County, Illinois, 50 W. Washington Street, #802 Chicago, IL 60602 or via
   remote means if ordered by the Court. You may appear on your own behalf or through counsel to show
   cause why the proposed Settlement should not be approved as fai r, reasonable, and adequate. Participating
   in the hearing is not necessary; however, persons wishing to be heard orally in opposition to the final
   approval ofthe Settlement, the request for attorneys' fees and expenses, and/or the request for Service Awards
   to the Class Representatives are required to indicate in their written objection their intention to appear at
   the hearing on their own behalf or through counsel and to identify the names of any witnesses they intend to
   call to testify at the Final Approval Hearing, as well as any exhibits they intend to introduce at the Fina l
   Approval Hearing. The hearing date and time, and whether the hearing wi ll be conducted remotely, is
   subject to change by the Court. Any updates will be posted on the Settlement Websi te,
   www.BNSFBlPAClassAction.com.

   WHAT DOES THE SETTLEMENT PROVIDE?

   Cash Payments. Defendant has agreed to create a $75,000,000.00 Settlement Fund. lfthe Court approves
   the Settlement and you do not exclude yourself from the Settlement Class, you will automatically receive
   an equal share of the Settlement F und after deductions for the Settlement Administrator's expenses,
   attorneys' fees, costs and expenses for Class Counsel, and Service Awards for the C lass Representatives.
   The exact amount of each Settlement Class Member's payment is unknown at this time, but the net per-
   person payment is estimated to be approx imately $1,000.00. All checks issued to Settlement Class Members
   will expire and become void 120 days after they are issued. Please submit your tax information to the



                                                     Page 3 of5
    QUESTIONS? VISIT 111111w.BNSFBIPAC/nssActio11.com OR CALL TOLL FREE 1-888-905-0306
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 38 of 48 PageID #:4482




 Settlement Administrator by Month, Day, 2024 in order to ensure taxes are not automatically withheld
 from your check. The attorneys who brought this lawsuit (listed below) will ask the Couit to award them
 attorneys' fees in an amount up to 35% of the Settlement Fund, plus their reasonable costs and expenses,
 for the substantial time, expense and effort spent investigating the facts, litigating, and negotiating the
 Settlement. The Class Representatives also will apply to the Court for a payment of up to $15,000 each for
 their time, effort, and service in this matter. Class Counsel will file with the Couit their request for attorneys'
 fees and costs and Service Awards on Month, Day 2024, and post their request on the Settlement Website.

 WHAT RIGHTS AM I GIVING UP IN THIS SETTLEMENT?

 Unless you exclude yourself from this Settlement, you will be considered a member of the Settlement Class,
 which means that, in exchange for being entitled to receive the cash benefits from the Settlement, you give
 up your right to file or continue a lawsuit against Defendant and other Released Patties (as defined in the
 Settlement Agreement) relating to your use of an automatic gate system. Giving up your legal claims is
 called a release. The precise terms of the release are available on the Settlement Website. Unless you
 formally exclude yourself by mailing a signed letter to the Settlement Administrator as explained above,
 you will release your claims. If you have any questions, you can talk for free to the attorneys identified
 below who have been appointed by the Court to represent the Settlement Class, or you are welcome to talk
 to any other lawyer of your choosing at yom own expense.

 WHEN WILL I BE PAID?

 The Patties cannot predict exactly when ( or whether) the Court will give final approval to the Settlement,
 so please be patient. However, if the Court finally approves the Settlement, checks will be mailed as soon
 as possible after the court order becomes final, which should occur within approximately 60 days after the
 Settlement has been finally approved. If there is an appeal of the Settlement, payment may be delayed.
 Updated information about the case is available at www.BNSFBIPAClassAction.com, or you can call the
 Settlement Administrator at 888-905-0306, or contact Class Counsel at the address provided below.

 WHEN WILL THE COURT RULE ON THE SETTLEMENT?

 The Court has already given preliminary approval to the Settlement. A final hearing on the Settlement,
 called a Final Approval Hearing, will be held to determine the fairness of the Settlement. At the Final
 Approval Hearing, the Court will also consider whether to make final the certification of the Settlement
 Class for settlement purposes, hear any proper objections and arguments to the Settlement, as well as any
 requests for an award of attorneys' fees, costs, and expenses and Class Representative Service Awards that
 may be sought by Class Counsel. The Court will hold the Final Approval Hearing on Month Day, 2024 at
 [Time am/pm] in Courtroom 2305 of the Circuit Court of Cook County, Illinois, 50 W. Washington Street,
 #802, Chicago, IL 60602. The hearing date and time, including whether the hearing will take place via
 remote means, is subject to change by the Couit, so please check the Settlement Website,
 www.BNSFBTPAClassAction.com, for updates.

 If the Settlement is given final approval, the Court will not make any determination as to the merits of the
 claims against Defendant or its defenses to those claims. Instead, the Settlement's terms will take effect and
 the lawsuits will be dismissed on the merits with prejudice. Both sides have agreed to the Settlement in




                                    Page 4 ofS
  QUESTIONS? VISIT www.BNSFBIPAClassActio11.com OR CALL TOLL FREE 1-888-905-0306
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 39 of 48 PageID #:4483




order to achieve an early and certain resolution to the lawsuit, in a manner that provides specific and
valuable benefits to the members of the Settlement Class.

If the Court does not approve the Settlement, if it approves the Settlement and the approval is reversed on
appeal, or if the Settlement does not become final for any other reason, you wi ll not be paid at this time and
Settlement Class Members wil l receive no benefits from the Settlement Fund. Plaintiffs, Defendant, and all
of the Settlement Class Members wi ll be in the same position as they were prior to the execution of the
Settlement, and the Settlement wi ll have no legal effect, and Plaintiffs and Defendant will return to
litigation. There can be no assurance that if the Settlement is not approved, the Settlement Class wi ll recover
more than is provided in the Settlement, or indeed, anything at all.


WHO REPRESENTS THE CLASS?

The Court has approved the following attorneys to represent the Settlement Class. They are called "Class
Counsel." You wi II not be charged for these lawyers. If you want to be represented by your own lawyer
instead, you may hire one at your own expense:

 Myles McGuire                                          Jon Loevy
 Evan M. Meyers                                         Michael I. Kanovitz
 David L. Gerbie                                        LOEVY & LOEVY, P.C.
 Brendan Duffner                                        311 N. Aberdeen St., 3rd Floor
 M CGUTRE LAW, P.C.                                     Chicago, Illinois 60607
 55. W. Wacker Dr., 9th Fl.                             jon@loevy.com
 Chicago, TL 60601                                      mike@loevy.com
 mmcgui re@mcgpc.com
 emeyers@mcgpc.com
 dgerbie@mcgpc.com
 bduffner@mcgpc.com

WHERE CAN I GET ADDITIONAL INFORMATION?

This Notice is only a summary of the proposed Settlement of this lawsuit. More details can be obtained at
www.BNSFBIPAClassAction.com. If you have any questions, you can also call the Settlement
Administrator at 888-905-0306 or contact Class Counsel at the numbers or email addresses set forth above.
In addition to the documents available on www.BNSFBIPAClassAction .com, all pleadings and documents
filed in court may be reviewed or copied in the Office of the Clerk. Please do not call the Judge or the Clerk
of the Court about this case. They wi ll not be able to give you advice on your options.




                                         Page 5 of 5
 QUESTIONS? VISIT 111111111.BNSFBIPAClassActio11.co111 OR CALL TOLL FREE 1-888-905-()3()6
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 40 of 48 PageID #:4484




                         Exhibit B
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 41 of 48 PageID #:4485




                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                     COUNTY DEPARTMENT, CHANCERY DIVISION

    RJCHARD ROGERS and MICHAEL                    )
    STEWART, individually and on behalf of        )
    all others similarly situated,                )
                                                  )
                            Plaintiffs,           )         No. 2019-Cl-1-04393
                                                  )
                    v.                            )
                                                  )          Hon. Pamela McLean Meyerson
    BNSFRAILWAYCOMPANY,a                          )
    Delaware corporation,                         )
                                                  )
                            Defendant.            )


                                 PRELIMINARY APPROVAL ORDER

        This matter having come before the Cowt on Plaintiffs' Unopposed Motion in Support of

Preliminary Approval of Class Action Settlement ("Motion"), the Court having reviewed in detail

and considered the Motion and the Class Action Settlement Agreement ("Settlement Agreement")

between Plaintiffs Richard Rogers and Michael Stewart ("Plaintiffs"), and Defendant BNSF

Railway Company ("Defendant"), and all other papers that have been filed with the Court related

to the Settlement Agreement, including all exhibits and attachments to the Motion and the

Settlement Agreement, and the Court being fully advised in the premises,

        IT [S HEREBY ORDERED AS FOLLOWS:

        1.      Capitalized terms used in this Order that are not otherwise defined herein have the

same meaning assigned to them as in the Settlement Agreement.

        2.      The terms of the Settlement Agreement are preliminarily approved as fair,

reasonable, and adequate. There is good cause to find that the Settlement Agreement was

negotiated at arm' s-length between the Parties, who were represented by experienced counsel and

negotiated through an experienced neutral, Judge Matthew F. Kennelly of the U.S. District Court

for Northern District of Illinois.
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 42 of 48 PageID #:4486




         3.        For settlement purposes only, the Court finds that the prerequisites to class action

 treatment under Section 2-801 of the Illinois Code of Civil Procedure - including numerosity,

 commonality and predominance, adequacy, and appropriateness of class treatment of these claims

 - have been preliminarily satisfied.

         4.        The Court hereby conditionally certifies, pursuant to Section 2-80 1 of the lllinois

 Code of Civil Procedure, and for the purposes of settlement only, the following Settlement Class

 consisting of:

                   "All individuals whose fingerprint information was registered using an
                   Auto-Gate System at any of BNSF's four Ulinois facilities at any time
                   between April 4, 2014 through the date of the Preliminary Approval Order."

         5.        For settlement purposes only, Plaintiffs Richard Rogers and Michael Stcwa1t are

 appointed as Class Representatives.

         6.        For settlement purposes on ly, the fo llowing counsel are hereby appointed as Class

 Counsel:
                  Myles McGuire                                     Jon Loevy
                  Evan M. Meyers                                    Michael I. Kanovitz
                  David L. Gerbie                                   LOEVY & LOEVY, P.C.
                  Brendan Duffner                                   31 1 N. Aberdeen St., 3rd Floor
                  MCGUTRE LAW, P.C.                                 Chicago, Illinois 60607
                  55. W. Wacker Dr., 9th Fl.
                  Chicago, IL 60601

         7.        The .Court finds that the Class Representatives and Class Counsel have and will

 fairly and adequately represent and protect the interests of the absent members of the Settlement

 Class in accordance Section 2-801 of the Illinois Code of Civil Procedure.

         8.        The Cou1t recognizes that, pursuant to the Settlement Agreement, Defendant retains

 all rights to object to the propriety of class certification in the above-captioned matter should the

 Pa1ties return to litigation if the Settlement is not finally approved. Therefore, as more fully set

 fo1th below, if the Settlement is not finally approved and the Parties return to litigation, this Court's



                                                    2
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 43 of 48 PageID #:4487




preliminary findings regarding the propriety of class ce1tification shall be of no further force or

effect whatsoever, and this Order will be vacated in its entirety.

       9.      The Court approves, in form and content, the Class Notice attached to the

Settlement Agreement as Exhibit A, and finds that it meets the requirements of Section 2-803 of

the Illinois Code of C ivil Procedure and satisfies Due Process.

        I 0.   The Cowt finds that the planned notice set forth in the Settlement Agreement

constitutes the best notice practicable under the circumstances, satisfies fully the requirements of

Due Process and any other applicable law, such that the Settlement Agreement and Final Approval

Order will be binding on all Settlement Class Members. In addition, the Court finds that no notice

other than that specifically identified in the Settlement Agreement is necessary in this action. The

Parties, by agreement, may revise the Class Notice in ways that are not material, or in ways that

are appropriate to update the Class Notice for purposes of accuracy or formatting for publication.

        I l.   Epiq Class Actions & Claims Solutions is hereby appointed Settlement

Administrator to supervise and administer the notice process, as well as to oversee the

administration of the Settlement, as more fully set forth in the Settlement Agreement.

       12.     The Settlement Administrator may proceed with the distribution of Class Notice as

set faith in the Settlement Agreement.

       13.     Settlement Class Members shall be bound by all determinations and orders

pertaining to the Settlement, including with respect to Released Claims as set forth in the

Settlement Agreement, whether favorable or unfavorable, unless such persons request exclusion

from the Settlement C lass in a timely and proper manner, as hereinafter provided. Settlement Class

Members who do not timely and validly request exclusion shall be so bound even if they have




                                                 3
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 44 of 48 PageID #:4488




 previously initiated other litigation or proceedings against Defendant or the Released Patties

 relating to the claims released under the terms of the Settlement Agreement.

         14.    Any individual within the Settlement Class may request exclusion from the

 Settlement Class by expressly stating their request in a written exclusion request. Such exclusion

 requests must be postmarked, no later than the Objection/Exclusion Deadline Month Day, 2024.

         15.    In order to exercise the right to be excluded, a person within the Settlement Class

 must timely send a written request for exclusion to the Settlement Administrator providing their

 name, address, and telephone number; a statement that they wish to be excluded from the

 Settlement Class; and their signature. A request to be excluded that is sent to an address other than

 that designated in the Notice, or is not postmarked within the time specified, shall be invalid and

 the person serving such a request shall be considered a member of the Settlement Class and shall

 be bound as a Settlement Class Member by the Agreement, if approved. So-called "mass" or

 "class" exclusion requests shall not be accepted or valid. No person within the Settlement Class,

 or any person acting on behalf of, in conceit with, or in participation with that person within the

 Settlement Class, may request exclusion from the Settlement Class of any other person within the

 Settlement Class.

        16.     Any person in the Settlement Class who elects to be excluded shall not: (i) be bound

 by the Settlement or any order or judgment of the Litigation; (ii) be entitled to relief under the

 Settlement Agreement; (iii) gain any rights by virtue of the Settlement Agreement; or (iv) be

 entitled to object to any aspect of the Settlement Agreement.

        17.     Class Counsel may file any motion seeking an award of attorneys' fees, costs and

 expenses, as well as Service Awards for the Class Representatives, in accordance with the terms of

 the Settlement Agreement, no later than Month Day, 2024.




                                                  4
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 45 of 48 PageID #:4489




        18.     Any Settlement Class Member who has not requested exclusion from the

Settlement Class and who wishes to object to any aspect of the Settlement Agreement, including

the amount of the attorneys' fees, costs, and expenses that C lass Counsel intend to seek or the

payment of the Service Awards to the Class Representatives, may do so, either personally or

through an attorney, by filing a written objection, together with the supporting documentation set

fo1th below in Paragraph 19 of this Order, with the C lerk of the State Court, and served upon the

Setllement Administrator no later than Month Day, 2024. Addresses for the Settlement

Administrator and the Clerk of State Court are as fo llows:

   Settlement Administrator:                          Clerk of State Court:
   Epiq Systems, Inc.                                 Clerk of the Circuit Court of Cook County
   P.O. Box 5803                                      Chancery Division
   Portland, OR 97228                                 50 W. Washington Street, #802
                                                      Chicago, IL 60602


        19.    Any Settlement Class Member who has not requested exclusion and who intends

to object to the Settlement must state, in writing, al l objections and the basis for any such

objection(s), and must also state in writing: (i) their full name, address, email address, and current

telephone number; (ii) the case name and number of the above captioned case; (iii) all grounds for

the objection, w ith factual and legal support for the stated objection, including any supporting

materials; (iv) the identification of any other objections they have filed, or have had fi led on their

behalf, in any other class action cases in the last four years; and (v) the objector's signature. If

represented by counsel, the objecting Settlement Class Member must also provide the name and

telephone number of their counsel. Objections not filed and served in accordance with this Order

shal I not be received or considered by the Court. Any Settlement Class Member who fai Is to timely

fi le and serve a written objection in accordance with this Order shall be deemed to have waived,

and shall be forever foreclosed from raising, any objection to the Settlement, to the fairness,



                                                  5
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 46 of 48 PageID #:4490




 reasonableness, or adequacy of the Settlement, to the payment of attorneys' fees, costs, and

 expenses, to the payment of any Service Award(s), and to the Final Approval Order and the right

 to appeal same.

         20.    A Settlement Class Member who has not requested exclusion from the Settlement

 Class and who has properly submitted a written objection in compliance with this Order may

 appear at the Final Approval Hearing in person or through counsel to show cause why the proposed

 Settlement should not be approved as fair, reasonable, and adequate. Attendance at the hearing is

 not necessary; however, persons wishing to be heard orally in opposition to the approval of the

 Settlement and/or Class Counsel's Fee and Expense Application and/or the request for Service

 Awards to the Class Representatives are required to indicate in their written objection their

 intention to appear at the Final Approval Hearing on their own behalf or through counsel. For any

 Settlement Class Member who files a timely written objection and who indicates their intention to

 appear at the Final Approval Hearing on their own behalf or through counsel, such Settlement

 Class Member must also include in their written objection the identity of any witnesses they may

 call to testify, and all exhibits they intend to introduce into evidence at the Final Approval Hearing,

 which shall be attached to such written objection.

         21.    Any Settlement Class Member who does not make their objection to the Settlement

 in the manner provided herein, or who does not also timely provide copies to Counsel for the

 Parties at the addresses set forth herein, shall be deemed to have waived any such objection by

 appeal, collateral attack, or otherwise, and shall be bound by the Settlement Agreement, the

 releases contained therein, and all aspects of the Final Approval Order.

        22.     All papers in support of the Final Approval of the Settlement shall be filed no later

 than seven (7) days before the Final Approval Hearing.




                                                   6
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 47 of 48 PageID #:4491




       23.     Pending the final determination of the fairness, reasonableness, and adequacy of

the proposed Settlement, no Settlement C lass Member may prosecute, institute, commence, or

continue any lawsu it (individual action or class action) with respect to the R eleased Claims against

any of the Released Parties.

       24.     A hearing (the "Final Approval Hearing") shall be held before the Court on Month

Day, 2024 at Time a.m./p.m. in Comtroom 2305 of the Circu it Cou,t of Cook County, Illinois, 50

W. Washington Street, #802, Chicago, IL 60602 (or at such other time or location, or via remote

means, as the Court may without furthe r notice direct a nd which shall be identified on the

Settlement Website) for the fo llowing purposes:

       (a)     to finally determine whether the applicable prerequisites for settlement class action

               treatment under 735 ILCS 5/2-801 have been met;

       (b)     to determine whether the Settlement is fair, reasonable, and adequate, and sho uld

               be approved;

       (c)     to dete rmine whether the judgment as provided under the Settlement Agreement

               should be entered, including an order prohibiting Settlement Class Members from

               further pursuing Released Claims as set forth in the Settlement Agreement;

       (d)     to consider the application for an award of attorneys' fees, costs, and expenses of

               C lass Counsel;

       (e)     to consider the application for Service Awards to the Class Representatives;

       (t)     to consider the distribution of the Settlement Fund pursuant to the Settlement

               Agreement; and

       (g)     to rule upon such other matters as the Court may deem appropriate.

       25.     The F inal Approval Hearing may be postponed, adjourned, transferred, continued,




                                                 7
Case: 1:19-cv-03083 Document #: 295-1 Filed: 02/26/24 Page 48 of 48 PageID #:4492




 or conducted by remote means by order of the Court without further notice to the Settlement Class

 Members, although Class Counsel will publish any such modifications to the Final Approval

 Hearing on the Settlement Website. At or following the Final Approval Hearing, the Cou11 may

 enter a judgment approving the Settlement Agreement and a Final Approval Order in accordance

 with the Settlement Agreement that adjudicates the rights of all Settlement Class Members.

          26.   Settlement Class Members do not need to appear at the Final Approval Hearing or

 take any other action to indicate their approval.

          27.   All discovery and other proceedings in this case are stayed until further order of the

 Cow1 except such actions as may be necessary to implement the Settlement Agreement and this

 Order.

          28.   For clarity, the deadlines set forth above and in the Settlement Agreement are as

 follows:

 Notice to be completed by:             Month Day, 2024

 Fee and Expense Application:           Month Day, 2024

 Objection/Exclusion Deadline:          Month Day, 2024

 Final Approval Submissions:            Month Day, 2024

 Final Approval Hearing:                Month Day, 2024 at Time a.m./p.m.

          IT IS SO ORDERED.

 ENTERED: -      -   ------
                                                         Hon. Pamela McLean Meyerson
                                                         Circuit Cow1 Judge
                                                         Circuit Court of Cook County, Illinois




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